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                            EXHIBIT A
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               ADAM REISNER, ESQ., (State Bar No. 204351)
         1     TESSA KING, ESQ., (State Bar No. 251408)
               TRAVIS BECK, ESQ., (State Bar No. PENDING)
         2     REISNER & KING LLP
         3     15303 Ventura Blvd., Suite 1260
               Sherman Oaks, California 91403
         4     Phone: (818) 981-0901
               Fax: (818) 981-0902
         5     Attorneys for PLAINTIFF EVA VAZQUEZ

         6
                                     SUPERIOR COURT OF THE STATE OF CALIFORNIA
         7
                                                FOR THE COUNTY OF LOS ANGELES
         8
                                                                            )       Case No.:   21 STC\/03541
         9     EVA VAZQUEZ,                                                 )
                                                                            )       COMPLAINT FOR DAMAGES:
        10                                                                  )
                        Plaintiff,                                          )
        11                                                                  )       (1)   ACTUAL/PERCEIVED DISABILITY
                        vs.                                                 )             HARASSMENT, VIOLATION OF
        12                                                                  )             CAL. GOV. CODE §§ 12940 ET SEQ.;
              COSTCO WHOLESALE CORPORATION;                                 )
        13
              EDDIE ROBLES, an individual;                                  )       (2)   ACTUAL/PERCEIVED DISABILITY
        14    ALLAN DOE an individual;                                      )             DISCRIMINATION, VIOLATION OF
                                                                            )             CAL. GOV. CODE§§ 12940 ET.SEQ.;
              JULIE DOE an individual;                                      )
        15    GUS DOE an individual; and                                    )(3)- ACTUAL/PERCEIVED DISABILITY
        16    DOES 1 through 100,                                          )      RETALIATION, VIOLATION OF
                                                                           )      CAL. GOV. CODE§§ 12940 ET SEQ.;
        17              Defendants.                                        )
                                                                           ) (4) FAILURE TO ENGAGE IN THE
        18                                                                 )      MANDATORY GOOD-FAITH
                                                                           )      INTERACTIVE PROCESS, CAL.
        19                                                                 )      GOV. CODE § 12940 ET SEQ.;
                                                                           )
       20                                                                  ) (5)          FAILURE TO ACCOMMODATE,
                                                                           )              CAL. GOV. CODE§ 12940 ET SEQ.;
       21                                                                  )
       22                                                                  ) (6)          VIOLATION OF CAL. FAMILY
                                                                           )              RIGHTS ACT, £AL. GOV. CODE§§
       23                                                                   )             12945 ET SEQ.;
                                                                            )
       24                                                                   ) (7) WHISTLEBLOWER VIOLATIONS,
                                                                            )     CAL. LABOR CODE § 1102.5;
       25                                                                   )
                                                                            ) (8) RETALIATION IN VIOLATION OF
       26                                                                   )     PUBLIC POLICY.
                                                                            )
       27                                                                   ) JURY TRIAL DEMANDED
                                                                            )
       28




                                                                                1
                                                           COMPLAINT FOR DAMAGES

                                                                                                                 EXHIBIT A, PAGE 4
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     1           COMES NOW PLAINTIFF EVA VAZQUEZ (hereinafter referred to as "Vazquez" or
     2    "Plaintiff') and complains against the above-named Defendants and for causes of action against
     3    the Defendants, and each of them, as follows:
     4                                                    I.

     5                                    FIRST CAUSE OF ACTION

     6                    For Actual/Perceived Disability Harassment in Employment
     7                            [California Government Code§ 12940 et. seq.]

 8                           Against All Defendants & DOES 1 Through 100, Inclusive
 9        1.     At all times mentioned herein, Plaintiff was, and now is, an individual domiciled in the
10        County of Los Angeles, State of California.
11        2.     Plaintiff is informed and believes, and thereon alleges that at all times relevant herein,
12       Defendant COSTCO WHOLESALE CORPORATION (hereinafter referred to as "Costco") was,

13       and now is, a valid businesses and/or government entities and/or a political subdivisions thereof
14       of fonn unknown duly organized and existing under the laws of the State of California, having
15       their principal places of business in the County of Los Angeles, State of California. At all times
16       relevant to this action, Defendant Costco was an employer of Plaintiff.
17       3.     Plaintiff is informed and believes, and thereon alleges that at all times relevant herein,
18       Defendant EDDIE ROBLES (hereinafter "Eddie Robles" and collectively with all other
19       Defendants as "Defendants"), was, and now is, an individual domiciled in the County of Los
20       Angeles, and was a Manager, Officer, Shareholder, Director, Supervisor, Manager, Managing
21       Agent, Owner, Principal, and/or Employee of Defendant Costco and/or DOES 1 through 100,
22       and each of them.
23       4.     Plaintiff is informed and believes, and thereon alleges that at all times relevant herein,
24       Defendant ALLAN DOE (hereinafter "Allan Doe" and collectively with all other Defendants as
25       "Defendants"), was, and now is, an individual domiciled in the County of Los Angeles, and was
26       a Manager, Officer, Shareholder, Director, Supervisor, Manager, Managing Agent, Owner,
27       Principal, and/or Employee of Defendant Costco and/or DOES I through 100, and each of them.
28       5.     Plaintiff is informed and believes, and thereon alleges that at all times relevant herein,
         Defendant JULIE DOE (hereinafter "Julie Doe and collectively with all other Defendants as


                                                          2
                                          COMPLAINT FOR DAMAGES
                                                                                      EXHIBIT A, PAGE 5
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                                                                                                      ,

 1   "Defendants"), was, and now is, an individual domiciled in the County of Los Angeles, and was

 2   a Manager, Officer, Shareholder, Director, Supervisor, Manager, Managing Agent, Owner,

 3   Principal, and/or Employee of Defendant Costco and/or DOES 1 through 100, and each of them.
 4   6.      Plaintiff is informed and believes, and thereon alleges that at all times relevant herein,

 5   Defendant GUS DOE (hereinafter "Doe" and collectively with all other Defendants as

 6   "Defendants"), was, and now is, an individual domiciled in the County of Los Angeles, and was
 7   a Manager, Officer, Shareholder, Director, Supervisor, Manager, Managing Agent, Owner,
 8   Principal, and/or Employee of Defendant Costco and/or DOES 1 through 100, and each of them.
 9   7.      Plaintiff is ignorant of the true names and capacities, whether corporate, associate,
IO   individual, or otherwise, of Defendants sued herein as DOES I - I 00, inclusive, and therefore

11   sues said Defendants by such fictitious names. Plaintiff will seek leave of Court to amend this

12   Complaint to assert the true names and capacities of the fictitiously named Defendants when the

13   same have been ascertained. Plaintiff is informed and believes, and thereon alleges, that each
14   Defendant designated as "DOES" herein is legally responsible for the events, happenings, acts,
15   occurrences, indebtedness, damages and liabilities hereinafter alleged and caused injuries and
16   damages proximately thereby to the Plaintiff, as hereinafter alleged.
17   8.      Plaintiff is informed and believes and thereon alleges that each of the Defendants named

18   herein has, at all times relevant to this action, been the officer, agent, employee and/or
19   representative of the remaining Defendants and has acted within the course and scope of such
20   agency and employment, and with the permission and consent of the co-defendants.
21   9.     Plaintiff has been an employee of Costco for approximately twenty years, beginning in or
22   around February 2001 until the present, and continuing, as a Front-End Assistant.
23   10.    At all times relevant herein, has been an employee disabled by a severe and debilitating
24   disability, including back and feet disabilities, among other related conditions and/or disabilities,
25   Plaintiff is a member of a protected class pursuant to the Fair Employment & Housing Act.
26
     11.    At all times relevant herein, Plaintiff has been an actual, perceived, and/or potentially
27
     disabled person within the meaning of Cal. Gov. Code §§ 12926.l{b) et seq., because Plaintiff
28
     was a person with an actual, perceived, potentially disabling, and/or potentially disabling in the



                                                      3
                                        COMPLAINT FOR DAMAGES

                                                                                    EXHIBIT A, PAGE 6
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     I   future pliysical/mental disability(s) including, but not limited to: foot and knee disabilities,
     2   among other related conditions and/or disabilities.
     3   12.    Plaintiff's impairments affect Plaintiff's musculoskeletal body system and ability to
     4
         perform major life activities, such as working.
     5
         13.    At all times relevant herein, Plaintiff was able to perform the essential functions of
     6
         Plaintiffs job either with and/or without reasonable accommodations.
     7
         14.    On a severe and/or pervasive basis during Plaintiffs employment with Defendants
 8
         Costco, and continuing through January 20, 2021, and continuing, Defendants, and DOES 1
 9
         through 100, and each of them, harassed Plaintiff due to and substantially motivated by
10
         Plaintiffs actual/perceived disabilities under the totality of the circumstances, need for
11
         accommodations, and/or need for protected finite medical leave creating a hostile work
12
         environment, through the following actions, among others:
13
                a)     In August 2019, Plaintiff sustained disabilities to her feet and proceeded to take
14
                legally protected medical leave until October 2019.
15
                b)     After returning to work, while expressing anger and frustration, Defendant Gus
16
                Doe began to purposefully ignore and distance himself from Plaintiff as well leer and
17
               stare at her on a severe and/or pervasive basis due in substantial part to Plaintiffs
18
               disabilities.
19
               c)      Subsequently, in or around November 2019, Plaintiff took further legally
20
               protected medical leave to after suffering disabilities to her hips and returned
21
               approximately three weeks later with a restriction of no sweeping; Plaintiff was able to
22
               work with these restrictions.
23
               d)      Manager Brenda Doe, on a severe and/or pervasive basis would demean and
24
               swear at Plaintiff, saying comments like, "What the fuck are you doing" and "stop
25
               picking the smallest fucking broom," among other similar comments due in substantial
26
               part to Plaintiffs disabilities.
27
               e)      Furthermore, despite having knowledge of Plaintiffs disabilities, Manager
28
               Brenda Doe would consistently assign Plaintiff heavy work, even though Plaintiff
               complained that work was too hard on her disabilities.
                                                           4
                                            COMPLAINT FOR DAMAGES

                                                                                    EXHIBIT A, PAGE 7
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 1        f)      Moreover, Manager Brenda Doe, would consistently demand to see Plaintiffs
 2        doctor's notes and state, "without a doctor's note, it does not matter if your back hurts/'

 3        g)     Plaintiff discussed her sweeping restriction in or around January 2020 with
 4        Human Resources Representative, Defendant Julie Doe.
 5        h)     However, rather than engage in the good faith interactive process and assess the
 6        nature and extent of Plaintiffs disabilities, Defendant Gus Doe angrily questioned her

 7        restrictions and stated: "Why can't you sweep? You have restrictions for sweeping?"

 8        among other similar comments.

 9        i)     Thereafter, Plaintiff attempted to transfer to the optical department but was denied
10        by Defendant Robles who stated she needed a special license, which is untrue. Plaintiff
11        was aware of at least three individuals working in Optical without the license.
12       j)      Moreover, on or about February 15, 2020, Defendants called Plaintiff into a

13       meeting and unlawfully tried to coerce Plaintiff to remove her restrictions by her doctor,

14       insisting she be I 00% healed to work her job.

15       k)      During the meeting, Defendant Robles threateningly told Plaintiff, "You need to

16       take this paper to the doctor and show him this paper, if you want to work, you need to
17       have the restrictions removed. [It] is not fair for other people to do their day-to-day tasks

18       and that you need assistance or are exempt from certain tasks due to your restrictions."

19       1)      Moreover, Defendant Allan Doe followed up by stating, "We have no job for you

20       because you have restrictions. Go have your restrictions removed."

21       m)      On or about March 2, 2020, Plaintiff took protected legal action by wearing a

22       mask and gloves at work in light of the COVID-19 pandemic, which was recommended

23       by her doctor due to her weak immune system.

24       n)      Defendant Gus Doe berated Plaintiff for wearing a mask and gloves by stating,

25       "Are you sick? No. Then you can't wear a mask. The only people allowed to wear a mask

26       are the sick people." Defendant Gus Doe refused to allow Plaintiff to wear the mask in

27       response to the Plaintiff stating, "I need it for my health, my defenses are slow."

28       o)      Plaintiff was forced out on leave of absence beginning March 3, 2020, when
         Defendants falsely determined that she was unable to perform the essential functions of a

         Front-End Assistant, even though she was able to work with reasonable accommodations
                                                   5
                                     COMPLAINT FOR DAMAGES

                                                                                 EXHIBIT A, PAGE 8
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     1           including working the doors, performing stock, re-wrapping items, folding clothes, and
     2           walking to check the refrigerators.
     3           p)      Furthermore, even though all Plaintiffs supervisors were happy with her work,
     4           Defendant Allan Doe told Plaintiff that there was no j9b for her at this Costco because of
     5           her restrictions and when Plaintiff mentioned the reasonable accommodations she could
     6           still do, such as working the doors, Defendant Allan Doe stated she would have to push
     7           carts despite never pushing carts previously.
 8               q)      Despite Plaintiffs ability to continue working with the same reasonable
 9               accommodations as she had been since January 2020, Plaintiff was forced out on leave
10               indefinitely by Defendants, due in substantial part to her disabilities and need for
11               accommodation.
12               r)     Defendants concluded the March 3, 2020, meeting by stating, "you are not
13               terminated but you cannot come back to work at this Costco. If you change/modify the
14               restrictions, maybe we can bring you back at this store."
15               s)     At least through January 20, 2021 and continuing, Defendants failed and/or
16               refused to investigate Plaintifrs complaints and take appropriate remedial actions.

17       15.    In doing the acts alleged herein, Defendants, and DOES l through l 00, and each of them,

18       were    substantially   motivated    by   Plaintiffs    actual/perceived   disabilities,   need   for
19       accommodations, and/or need for legally protected finite medical leave.
20       16.    A reasonable person in Plaintiffs circumstances would have considered the work

2l       environment to be hostiie or abusive.
22       17.    Plaintiff considered the work environment to be hostile or abusive towards Plaintiff.
23              At all times relevant herein, Plaintiff believes and further alleges that Defendants and/or
         18.
24
         DOES I through 100 and/or its agents/repres.entatives failed to timely, properly, and/or
25
         completely investigate the harassment Plaintiff was routinely subjected to and ratified and
26
         condoned the unlawful behavior.
27
         19.    The acts and conduct of Defendants, and DOES I through I 00, and each of them, as
28
         aforesaid, were in violation of Cal. Government Code §§ 12940 et seq. Said statutes impose

         certain duties upon D_efendants concerning harassment against persons, such as Plaintiff, on the
                                                         6
                                             COMPLAINT FOR DAMAGES
                                                                                        EXHIBIT A, PAGE 9
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                                                                                                                   '

     1    basis of actual/perceived disabilities and the prohibition of actual/perceived disability
 2        harassment. Said statutes were intended to prevent the type of disability and damage herein set
 3       forth.
 4
         20.      By the acts and conduct described above, Defendants, and DOES 1 through 100, and
 5
         each of them, in violation of said statutes, knew about, or should have known about, and failed to
 6
         investigate and/or properly investigate, prevent or remedy the disability harassment.
 7
         21.      Prior to the initiation of this lawsuit, Plaintiff filed a timely complaint against each named
 8
         Defendant with the DFEH pursuant to Cal. Government Code§ 12900 et seq. and has received
 9
         Right-to-Sue notices in a California Superior Court pursuant to California Government Code §
10
         12965(b). Attached hereto and incorporated herein as Exhibit "A" are said Complaints and by
11
         reference hereto are made a part hereof. Attached hereto and incorporated herein as Exhibit "B"
12
         are said Right-to-Sue notices and by reference hereto are made a part hereof. Plaintiff has
13

14       therefore exhausted Plaintiffs administrative remedies under the California Government Code.

15       22.      As a direct and legal result of the acts and omissions of Defendants, and DOES I through

16       I 00, Plaintiff was rendered sick, sore, lame, disabled and/or disordered, both internally and/or
17       externally, and/or suffered, among other things, numerous internal injuries, severe fright, shock,
18       pain, discomfort and/or anxiety.

19       23.      As a further legal result of the acts and omissions of Defendants, and DOES 1 through
20       100, Plaintiff has been forced and/or will be forced to incur expenses for medical care, X-rays,
21       and/or laboratory costs during the period of Plaintiffs disability, and/or is infonned and believes,
22       and thereon alleges, that Plaintiff will in the future be forced to incur additional expenses of the
23
         same nature, all in an amount which is at present unknown. Plaintiff will pray leave of court to
24
         show the exact amount of said expenses at the time of trial.
25
         24.      Prior to the occurrence of the incidents, Plaintiff was an able-bodied individual, but since
26
         said incidents has been unable to engage fully and/or partially in Plaintiffs occupation, and is
27
         informed and believes, and thereon alleges, that Plaintiff will be fully and/or partially
28
         incapacitated and/or unable to perform Plaintiffs usual work for an indefinite period of time in



                                                           7
                                             COMPLAINT FOR DAMAGES

                                                                                        EXHIBIT A, PAGE 10
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     1   the future, all to Plaintiffs damage in an amount which is at present unascertained. Plaintiff will
     2   pray leave of court to show the total amount of loss of earnings at the time of trial.
     3   25.       As a further direct and legal result of the acts and conduct of Defendants, and DOES 1
     4   through 100, Plaintiff has been caused, and did suffer, and continues to suffer severe and
     5   permanent emotional and/or mental distress and/or anguish, humiliation, embarrassment, fright,
     6
         shock, pain, discomfort and/or anxiety. The exact nature and extent of said injuries is presently
     7
         unknown to Plaintiff, who will pray leave of court to assert the same when they are ascertained.
     8
         26.       By the aforesaid acts and conduct of Defendants, and DOES I through 100, Plaintiff has
     9
         been directly and legally caused to suffer actual damages pursuant to California Civil Code §
10
         3333 including, but not limited to, loss of earnings and future earning capacity, medical and
11
         related expenses for care and procedures both now and in the future, attorneys' fees, and other
12
         pecuniary loss not presently ascertained, for which Plaintiff will seek leave of court to amend
13
         when ascertained.
14
15       27.       As a result of the harassing acts of Defendants and DOES 1 through I 00, as alleged

16       herein, Plaintiff is entitled to reasonable attorneys' fees and costs of said suit as specifically

17       provided in California Government Code § l 2965{b).

18       28.       The FEHA also provides remedies, including but not limited to, declaratory and

19       injunctive relief. As such, Plaintiff is entitled to both declaratory and injunctive relief as a result

20       of Defendants' unlawful conduct.
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22                                                                                          IL
23                                                             SECOND CAUSE OF ACTION

24                                      For Actual/Perceived Disability Discrimination in Employment

25                                                [California Government Code § 12940 et. seq.]
26                                          Against Defendant Costco & DOES 1 Through 100, Only

27       29.       Plaintiff incorporates herein by reference and re-alleges each and every paragraph in this

28       Complaint as though duly set forth in full herein.




                                                                                             8
                                                                   COMPLAINT FOR DAMAGES
                                                                                                                                                          EXHIBIT A, PAGE 11
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                                                                                                              'f




  1   30.     At all times relevant herein, Plaintiff was an actual, perceived, and/or potentially disabled
  2   person within the meaning of Cal. Gov. Code §§ 12926.l(b) et seq., because Plaintiff was a
  3   person with an actual, perceived, potentially disabling, and/or potentially disabling in the future
  4
      physical/mental disability(s) including, but not limited to: back disabilities, depression and
  5
      anxiety, among other related conditions and/or disabilities.
  6
      31.     At all times relevant herein, Defendants Costco had notice of Plaintiffs disabilities
  7
      and/or need for accommodations. For example, Plaintiff notified her supervisors and managers,
  8
      as well as the Human Resources Department, of her disabilities and requested reasonable
  9
      accommodations.
 10
      32.     Plaintiffs impairments affect her musculoskeletal body system and ability to perform
 11
      major life activities, such as working.
 12
      33.    At all times relevant herein, as an employee disabled by a severe and debilitating
 13
 14   disability, Plaintiff was a member of a protected class.

 15   34.    At all times relevant herein, Plaintiff was qualified for and/or competently performed the

 16   position(s) held throughout her employment with Defendant Costco.

 17   35.    At all times relevant herein, Plaintiff was able to perform the essential functions of her

 18   job either with and/or without reasonable accommodations.

 19   36.    Starting during Plaintiffs employment, and continuing through the present date, and
20    continuing, as a result of a11d ~ubstantially motivated by Plaintiffs actual/perceived disabilities,
21    need for accommodations, and/or need for protected finite leave, Defendants and DOES 1
22    through 100, and each of them, subjected Plaintiff to discriminatory treatment and/or adverse
23
      employment actions under the totality of the circumstances, including the following actions,
24
      among others:
25
             a)       In August 2019, Plaintiff sustained disabilities to her feet and proceeded to take
26
             legally protected medical leave until October 2019.
27
             b)       After returning to work, while expressing anger and frustration, Defendant Gus
28
             Doe began to purposefully ignore and distance himself from Plaintiff as well leer and



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                                         COMPLAINT FOR DAMAGES

                                                                                   EXHIBIT A, PAGE 12
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     1     stare at her on a severe and/or pervasive basis, thereby directly evidencing discriminatory
     2     animus towards Plaintiffs actual/perceived disabilities.
     3     c)     Subsequently, in or around November 2019, Plaintiff took further legally
     4     protected medical leave to after suffering disabilities to her hips and returned
     5     approximately three weeks later with a restriction of no sweeping; Plaintiff was able to
     6     work with these restrictions.
     7     d)     Manager Brenda Doe, on a severe and/or pervasive basis would demean and
  8        swear at Plaintiff, saying comments like, "what the fuck are you doing" and "stop picking
  9       the smallest fucking broom," among other similar comments. This is direct evidence of
 10       discriminatory animus.
 11       e)      Furthermore, despite having knowledge of Plaintiffs disabilities, Manager
 12       Brenda Doe would consistently assign Plaintiff heavy work, even though Plaintiff
 13       complained that work was too hard on her disabilities, thereby directly evidencing
 14       discriminatory animus.
 15       f)      Moreover, Manager Brenda Doe, would consistently demand to see Plaintiff's
 16       doctor's notes and state, "without a doctor's note, it does not matter if your back hurts,"
 17       thereby directly evidencing discriminatory animus.
18        g)      Plaintiff discussed her sweeping restriction m or around January 2020 with
19        Human Resources Representative, Defendant Julie Doe.
20        h)     However, rather than engage in the good faith interactive process and assess the
21        nature and extent of Plaintiffs disabilities, Defendant Gus Doe angrily questioned her
22        restrictions and stated: "Why can't you sweep? You have restrictions for sweeping?"
23        among other similar comments, thereby directly evidencing discriminatory animus.

24        i)     Thereafter, Plaintiff attempted to transfer to the optical department but was denied

25       by Defendant Robles who stated she needed a special license, which is untrue. Plaintiff

26       was aware of at least three individuals working in Optical without the license, thereby
27       evidencing Defendants discriminatory animus.
28       j)      Moreover, on or about February 15, 2020, Defendants called Plaintiff into a
         meeting and unlawfully tried to coerce Plaintiff to get her restrictions modified by her
         doctor to be in full compliance with the job, insisting she be 100% healed to work her
                                                10
                                     COMPLAINT FOR DAMAGES
                                                                              EXHIBIT A, PAGE 13
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                                                                                                   .~.


      1   job. This 100% healed policy 1s failure to accommodate and patent disability
  2        discrimination.
  3       k)       During the meeting, Defendant Robles threateningly told Plaintiff, "You need to
  4       take this paper to the doctor and show him this paper, if you want to work, you need to
  5       have the restrictions removed. [It] is not fair for other people to do their day-to-day tasks
  6       and that you need assistance or are exempt from certain tasks due to your restrictions,"
  7       thereby directly evidencing discriminatory ani~us.
  8       l)       Moreover, Defendant Allan Doe followed up by stating, "We have no job for you
  9       because you have restrictions. Go have your restrictions removed," further directly
 10       evidencing discriminatory animus.
 11       m)       On or about March 2, 2020, Plaintiff took protected legal action by wearing a
 12       mask and gloves at work in light of the COVID-19 pandemic, which was recommended
 13       by her doctor due to her weak immune system.
 14       n)       Defendant Gus Doe berated Plaintiff for wearing a mask and gloves by stating,
 15       "Are you sick? No. Then you can't wear a mask. The only people allowed to wear a mask
 16       are the sick people." Defendant Gus Doe refused to allow Plaintiff to wear the mask in
 17       response to the Plaintiff stating, "I need it for my health, my defenses are slow," thereby
 18       directly evidencing discriminatory animus.
 19       o)       Plaintiff was forced out on leave of absence beginning March 3, 2020, when
 20       Defendants falsely determined that she was unable to perform the essential functions of a
 21       Front-End Assistant, even though she was able to work with reasonable accommodations
 22       including working the doors, performing stock, re-wrapping items, re-wrapping items,
 23       folding clothes, and walking to check the refrigerators.
24        p)     Furthermore, even though all Plaintiffs supervisors were happy with her work,
25        Defendant Allan Doe told Plaintiff that there was no job for her at this Costco because of
26        her restrictions and when Plaintiff mentioned the reasonable accommodations she could

27        still do, such as working the doors, Defendant Allan Doe stated she would have to push

28        carts despite never pushing carts previously. This directly evidences discriminatory
          ammus.


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                                     COMPLAINT FOR DAMAGES

                                                                               EXHIBIT A, PAGE 14
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     1           q)        Despite Plaintiffs ability to continue working with the same reasonable
     2           accommodations as she had been since January 2020, Plaintiff was forced out on leave
     3           indefinitely by Defendants, due in substantial part to her disabilities and need for
     4           accommodation, thereby directly evidencing discriminatory animus.
     5           r)        At least through January 20, 2021 and continuing, Defendants failed and/or
     6           refused to investigate Plaintiffs complaints and take appropriate remedial actions.
     7    37.    In doing the acts alleged herein, Defendant Costco, and DOES l through 100, and each of
  8       them, were substantially motivated by Plaintiffs actual/perceived disabilities, need for
  9       accommodations, and/or need for legally protected finite medical leave.
 10
          38.    At all times relevant herein, Plaintiff believes and further alleges that Defendant Costco,
 11
         and/or its agents/representatives failed to timely, properly, and/or completely investigate the
12
         discrimination Plaintiff was routinely subjected to and ratified and condoned the unlawful
13
         behavior.
14
         39.     The acts and conduct of Defendant Costco and DOES 1 through 100, and each of them,
15
         as aforesaid, were in violation of Cal. Gov. Code §§ 12940 et seq. Said statutes impose certain
16
         duties upon Defendant Costco concerning discrimination against persons, such as Plaintiff, on
17
         the basis of disabilities and the prohibition of disability discrimination. Said statutes were
18
         intended to prevent the type of injury and damage herein set forth.
19
20       40.    By the acts and conduct described above, Defendant Costco, and DOES 1 through 100,

2l       and each of them, in violation of said statutes, knew about, or should have known about, and

22       failed to investigate and/or properly investigate, prevent or remedy the actual/perceived disability

23       discrimination.    When   Plaintiff was     discriminated   against,   Plaintiffs actual/perceived

24       disability(s) were substantial motivating reasons and/or factors in Defendants' conduct.

25       41.    Prior to the initiation of this lawsuit, Plaintiff filed a timely complaint against each named
                                                 -
26       Defendant with the DFEH pursuant to Cal. Government Code§ 12900 et seq. and has received
27       Right-to-Sue notices in a California Superior Court pursuant to California Government Code §
28       l 2965(b). Attache~ hereto and incorporated herein as Exhibit "A" are said Complaints and by

         reference hereto are made a part hereof. Attached hereto and incorporated herein as Exhibit "B"

                                                         12
                                           COMPLAINT FOR DAMAGES
                                                                                       EXHIBIT A, PAGE 15
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      1    are said Right-to-Sue notices and by reference hereto ·are made a part hereof. Plaintiff has
  2       therefore exhausted Plaintiffs administrative remedies under the California Government Code.
  3       42.     As a direct and legal result of the acts and omissions of Defendant Costco, and DOES 1
  4
          through 100, Plaintiff was rendered sick, sore, lame, disabled and/or disordered, both internally
  5
          and/or externally, and/or suffered, among other things, numerous internal injuries, severe fright,
  6
          shock, pain, discomfort and/or anxiety.
  7
          43.     As a further legal result of the acts and omissions of Defendant Costco, and DOES 1
  8
          through I 00, Plaintiff has been forced and/or will be forced to incur expenses for medical care,
  9
          X-rays, and/or laboratory costs during the period of Plaintiffs disability, and/or is informed and
 10
          believes, and thereon alleges, that Plaintiff will in the future be forced to incur additional
 11
          expenses of the same nature, all in an amount which is at present unknown. Plaintiff will pray
 12
          leave of court to show the exact amount of said expenses at the time of trial.
 13
 14       44.     Prior to the occurrence of the incidents, Plaintiff was an able-bodied individual, but since

 lS       said incidents has been unable to engage fully and/or partially in Plaintiff's occupation, and is

 16       informed and believes, and thereon alleges, that Plaintiff will be fully and/or partially

 17       incapacitated and/or unable to perform Plaintiffs usual work for an indefinite period of time in

 18       the future, all to Plaintiff's damage in an amount which is at present unascertained. Plaintiff will

 19       pray leave of court to show the total amount of loss of earnings at the time of trial.

20        45.    As a further direct and legal result of the acts and conduct of Defendants Costco, and
 21       DOES 1 through 100, Plaintiff has been caused, and did suffer, and continues to suffer severe
22        and permanent emotional and/or mental distress and/or anguish, humiliation, embarrassment,
23
          fright, shock, pain, discomfort and/or anxiety. The exact nature and extent of said injuries is
24
          presently unknown to Plaintiff, who will pray leave of court to assert the same when they are
25
          ascertained.
26                                                                                   '
          46.    By the aforesaid acts and conduct of Defendants Costco, and DOES 1 through I 00,
27
          Plaintiff has been directly and legally caused to suffer actual damages pursuant to· California
28
          Civil Code § 3333 including, but not limited to, loss of earnings and future earning capacity,

          medical and related expenses for care and procedures both now and in the future, attorneys' fees,

                                                           13
                                             COMPLAINT FOR DAMAGES

                                                                                         EXHIBIT A, PAGE 16
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     1    and other pecuniary loss not presently ascertained, for which Plaintiff will seek leave of court to
     2    amend when ascertained.
     3    47.     As a result of the discriminatory acts of Defendant Costco, and DOES 1 t~ough 100, as
  4
          alleged herein, Plaintiff is entitled to reasonable attorneys' fees and costs of said suit as
     5
          specifically provided in California Government Code§ 12965(b).
  6
          48.    The FEHA also provides remedies, including but not limited to, declaratory and
  7
          injunctive relief. As such, Plaintiff is entitled to both declaratory and injunctive relief as a result
  8
          of Defendants' unlawful conduct.
  9
         49.     Plaintiff has been damaged in an amount within the jurisdictional limits of this Court.
 10
                                                           III.
 11
                                            THIRD CAUSE OF ACTION
 12
                           For Actual/Perceived Disability Retaliation in Employment
 13
                                  [California Government Code§§ 12940 et seq.]
 14
                            Against Defendant Costco & DOES 1 Through 100, Only
 15
         50.     Plaintiff incorporates herein by reference each and every paragraph in this Complaint as
 16
         though duly set forth in full herein.
 17
         51.     Plaintiff was, at all times material hereto, a disabled employee (and one who engaged in
 18
         legally protected conduct) and within a protected class covered by Cal. Gov. Code § 12940, as
 19
20       Plaintiff suffered from a severe and debilitating disability, including back disabilities, depression

21       and anxiety, among other related conditions and/or disabilities.

22       52.     Plaintiffs impairments affect her musculoskeletal body system and ability to perform

23       major life activities, such as working.

24       53.     Starting during Plaintiffs employment and continuing through the present date, and
25       continuing, Defendants Costco, and/or DOES I through 100 retaliated against Plaintiff as a result
26       of Plaintiff asserting her legal rights and/or complaining about and/or protesting against the
27       disability harassment and discrimination Plaintiff was subjected to.
28       54.    Plaintiff asserted her legal rights, for example partaking m protected activity and

         protesting and complaining, on the following occasions, among others:

                                                           14
                                             COMPLAINT FOR DAMAGES
                                                                                        EXHIBIT A, PAGE 17
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                                                                                                                 ,,



     I              a)     In August 2019, Plaintiff sustained disabilities to her feet and proceeded to take
  2                 legally protected medical leave until October 2019.

  3                 b)     Subsequently, in or around November 2019, Plaintiff took further legally
  4                protected medical leave to after suffering- disabilities to her hips and returned
  5                approximately three weeks later with a restriction of no sweeping; Plaintiff was able to
  6                work with these restrictions.

  7                c)      Manager Brenda Doe would consistently assign Plaintiff heavy work, even

  8                though Plaintiff complained that work was too hard on her disabilities.

  9                d)      Plaintiff discussed her sweeping restriction in or around January 2020 with

 10                Human Resources Representative, Defendant Julie Doe.
 11                e)      On or about March 2, 2020, Plaintiff took protected legal action by wearing a

 12                mask and gloves at work in light of the COVID-19 pandemic, which was recommended

 13                by her doctor due to her weak immune system.

 14                f)      Plaintiff protested to be able to wear the mask to Defendant Gus Doe, telling him,

 15                "I need it for my health, my defenses are slow."
 16      55.       However, Defendant Costco, and DOES 1 through 100, and each of them, retaliated

 17      against Plaintiff, due to and substantially motivated by Plaintiffs actual/perceived disability(s),

 18      requesting accommodations, or protected finite leave, and/or due to Plaintiff engaging in the

 19      aforesaid legally protected activities (complaints/protests), through the following actions, among

20       others:

21                 a)     Manager Brenda Doe, on a severe and/or pervasive basis would demean and

22                 swear at Plaintiff, saying comments like, ''what the fuck are you doing" and "stop picking

23                 the smallest fucking broom," among other similar comments, thereby directly evidencing

24                 retaliatory animus.

25                 b)     Moreover, Manager Brenda Doe, would consistently demand to see Plaintiffs

26                 doctor's notes and state, "without a doctor's note, it does not matter if your back hurts,"

27                 thereby directly evidencing retaliatory animus.

28                 c)     After returning to work, while expressing anger and frustration, Defendant Gus
                   Doe began to purposefully ignore and distance himself from Plaintiff as well leer and


                                                           15
                                              COMPLAINT FOR DAMAGES

                                                                                       EXHIBIT A, PAGE 18
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     1     stare at her on a severe and/or pervasive basis due in substantial part to Plaintiffs
     2     disabilities, thereby directly evidencing retaliatory animus.
     3     d)     Further, rather than engage in the good faith interactive process and assess the
     4     nature and extent of Plaintifr s disabilities, Defendant Gus Doe angrily questioned her
     5     restrictions and stated: "Why can't you sweep? You have restrictions for sweeping?"
     6     among other similar comments, thereby directly evidencing retaliatory animus.
     7    e)      Thereafter, Plaintiff attempted to transfer to the optical department but was denied
     8    by Defendant Robles who stated she needed a special license, which is untrue. Plaintiff
  9       was aware of at least three individuals working in Optical without the license, thereby
 10       evidencing retaliatory animus towards Plaintiff.
 11       f)      Moreover, on or about February 15, 2020, Defendants called Plaintiff into a
 12      · meeting and unlawfully tried to coerce Plaintiff to remove her restrictions by her doctor,
 13       insisting she be 100% healed to work her job.
 14       g)      During the meeting, Defendant Robles threateningly told Plaintiff, "You need to
 15       take this paper to the doctor and show him this paper, if you want to work, you need to
16        have the restrictions removed. [It] is not fair for other people to do their day-to-day tasks
17        and that you need assistance or are exempt from certain tasks due to your restrictions,"
18        thereby directly evidencing retaliatory animus.
19        h)     Moreover, Defendant Allan Doe followed up by stating, "We have no job for you

20        because you have restrictions. Go have your restrictions removed," thereby further
           . 1 ev1uencmg
          diiect1y ·,1 • d'1scnmmatorf
                              . .        .
                                       ammus.
21
22        i)     Furthermore, Defendant Gus Doe berated Pla~ntiff for wearing a mask and gloves

23       by stating, "Are you sick? No. Then you can't wear a mask. The only people allowed to

24       wear a mask are the sick people," thereby directly evidencing retaliatory animus.

25       j)      Plaintiff was forced out on leave of absence beginning March 3, 2020, when

26       Defendants falsely determined that she was unable to perform the essential functions of a

27       Front-End Assistant, even though she was able to work with reasonable accommodations

28       including working the doors, perfonning stock, re-wrapping items, folding clothes, and
         walking to check the refrigerators.


                                                   16
                                     COMPLAINT FOR DAMAGES
                                                                                EXHIBIT A, PAGE 19
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  1            k)      Furthermore, even though all Plaintiffs supervisors were happy with her work,
  2            Defendant Allan Doe told Plaintiff that there was no job for her at this Costco because of
  3            her restrictions and when Plaintiff mentioned the reasonable accommodations she could
  4            still do, such as working the doors, Defendant Allan Doe stated she would have to push
  5            carts despite never pushing carts previously.
  6            1)      Despite Plaintiffs ability to continue working with the same reasonable
  7            accommodations as she had been since January 2020, Plaintiff was forced out on leave
  8            indefinitely by Defendants, due in substantial part to her disabilities and need for
  9            accommodation, thereby directly evidencing retaliatory animus.
 10            m)     Defendants concluded the March 3, 2020, meeting by stating, "you are not
 11            terminated but you cannot come back to work at this Costco. If you change/modify the
 12            restrictions, maybe we can bring you back at this store," thereby directly evidencing
 13            retaliatory animus.
 14            n)     At least through January 20, 2021 and continuing, Defendant Costco failed and/or
 15            refused to investigate Plaintiffs complaints and take appropriate remedial actions.

 16   56.      In doing the acts alleged herein, Defendant Costco and DOES 1 through I 00, and each of
 17   them, were substantially motivated by Plaintiff's actual/perceived disabilities, need for
 18   accommodations, need for legally protected medical leave, and/or aforesaid legally protected
 19   activities (complaints/protests).
 20
      57.     At all times relevant herein, Plaintiff believes and further alleges that Defendant Costco
21
      and/or its agents/representatives failed to timely, properly, and/or completely investigate the
22
      retaliation Plaintiff was routinely subjected to and ratified and condoned the unlawful behavior.
23
      58.     The acts and conduct of Defendant Costco, and DOES 1 through 100, and each of them,
24
      as aforesaid, were in violation of California Government Code §§ 12940 et seq. Said statutes
25
      impose certain duties upon Defendant Costco, and each of them, concerning retaliation against
26
      persons, such as Plaintiff, on the basis of disabilities and the prohibition of actual/perceived
27
      disability retaliation. Said statutes were intended to prevent the type of injury and damage herein
28
      set forth.


                                                       17
                                          COMPLAINT FOR DAMAGES

                                                                                   EXHIBIT A, PAGE 20
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     1    59.    By the acts and conduct described above, Defendant Costco, and DOES 1 through I 00,
     2    and each of them, in violation of said statutes, knew about, or should have known about, and
     3    failed to investigate and/or properly investigate, prevent or remedy the disability retaliation.
  4
          When Plaintiff was retaliated against, Plaintiffs disability(s) and/or complaints about the
     5
          unlawful conduct were substantial motivating reasons and/or factors in Defendants Costco
  6
          conduct.
  7
          60.    Prior to the initiation of this lawsuit, Plaintiff filed a timely complaint against each named
  8
         Defendant with the DFEH pursuant to Cal. Government Code§ 12900 et seq. and has received
  9
         Right-to-Sue notices in a California Superior Court pursuant to California Government Code §
 IO
          12965(b). Attached hereto and incorporated herein as Exhibit "A" are said Complaints and by
 11
         reference hereto are made a part hereof. Attached hereto and incorporated herein as Exhibit "B"
 12
         are said Right-to-Sue notices and by reference hereto are made a part hereof. Plaintiff has
 13

14       therefore exhausted Plaintiffs administrative remedies under the California Government Code.

15       61.     As a direct and legal result of the acts and omissions of Defendant Costco and DOES I

16       through 100, Plaintiff was rendered sick, sore, lame, disabled and/or disordered, both internally

17       and/or externally, and/or suffered, among other things, numerous internal injuries, severe fright,

18       shock, pain, discomfort and/or anxiety.

19       62.    As a further legal result of the acts and omissions of Defendant Costco, and DOES 1
20       through 100, Plaintiff has been forced and/or will be forced to incur expenses for medical care,
21       X-rays, andior iaboratory costs during the period of Plaintiffs disability, andior is informed and
22       believes, and thereon alleges, that Plaintiff will in the future be forced to incur additional
23
         expenses of the same nature, all in an amount which is at present unknown. Plaintiff will pray
24
         leave of court to show the exact amount of said expenses at the time of trial.
25
         63.    Prior to the occurrence of the incidents, Plaintiff was an able-bodied individual, but since
26
         said incidents has been unable to engage fully and/or partially in Plaintiffs occupation, and is
27
         informed and believes, and thereon alleges, that Plaintiff will be fully and/or partially
28
         incapacitated and/or unable to perform Plaintiffs usual work for an indefinite period of time in



                                                         18
                                           COMPLAINT FOR DAMAGES
                                                                                       EXHIBIT A, PAGE 21
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  1   the future, all to Plaintiffs damage in an amount which is at present unascertained. Plaintiff will
  2   pray leave of court to show the total amount of loss of earnings at the time of trial.
  3   64.     As   a further   direct and legal result of the acts and conduct of Defendant Costco, and
  4
      DOES I through I 00, Plaintiff has been caused, and did suffer, and continues to suffer severe
  5
      and pennanent emotional and/or mental distress and/or anguish, humiliation, embarrassment,
  6
      fright, shock, pain, discomfort and/or anxiety. The exact nature and extent of said injuries is
  7
      presently unknown to Plaintiff, who will pray leave of court to assert the same when they are
  8
      ascertained.
  9
      65.     By the aforesaid acts and conduct of Defendant Costco, and DOES I through I 00,
 10
      Plaintiff has been directly and legally caused to suffer actual damages pursuant to California
 11
      Civil Code § 3333 including, but not limited to, loss of earnings and future earning capacity,
 12
      medical and related expenses for care and procedures both now and in the future, attorneys' fees,
 13

 14   and other pecuniary loss not presently ascertained, for which Plaintiff will seek leave of court to

 15   amend when ascertained.

 16   66.     As a result of the retaliatory acts of Defendant Costco, and DOES 1 through I 00, as
 17   alleged herein, Plaintiff is entitled to reasonable attorneys' fees and costs of said suit as

 18   specifically provided in California Government Code § 12965(b).
 19   67.    The FERA also provides remedies, including but not limited to, declaratory and
20    injunctive relief. As such, Plaintiff is entitled to both declaratory and injunctive relief as a result
21    of Defendants' unlawful conduct.
22    68.    Plaintiff has been damaged in an amount within the jurisdictional limits of this Court.
                                                       IV.
23
                                       FOURTH CAUSE OF ACTION
24
                For Failure to Engage in the Mandatory Good-Faith Interactive Process
25
                                [California Government Code § 12940 et. seq.]
26
                         Against Defendant Costco & DOES 1 Through 100, Only
27
      69.    Plaintiff incorporates herein by reference and re-alleges each and every paragraph in this
28
      Complaint as though duly set forth in full herein.


                                                        19
                                          COMPLAINT FOR DAMAGES

                                                                                     EXHIBIT A, PAGE 22
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     I     70.     At all times relevant herein, Plaintiff was an actual, perceived, and/or potentially disabled
  2       person within the meaning of Cal. Gov. Code §§ 12926.l(b) et seq., because Plaintiff was a

  3       person with an actual, perceived, potentially disabling, and/or potentially disabling in the future
  4       physical/mental disabilities(s) including, but not limited to: foot and knee disabilities, among
  5       other related conditions and/or disabilities.
  6       71.      At all times relevant herein, Plaintiffs impairments affected and/or affect Plaintiff's
  7       mental and psychological condition and/or Plaintiffs musculoskeletal body system, thereby

  8       affecting Plaintiffs ability to perform major life activities, such as working.
  9       72.     At all times relevant herein, Defendant Costco failed to engage in a good-faith interactive
 IO       process with Plaintiff to determine whether it would be possible to provide reasonable
                                                  /




 11       accommodations as required by Cal. Gov. Code§ 12940.
 12       73.     California Gov. Code § 12940 generally provides that it is an unlawful employment

 13      practice for an employer or other entity covered by the FEHA to fail to engage in a timely, good-
 14      faith, interactive process with the employee to determine effective reasonable accommodations,
 15      if any, for an employee with a known physical or mental disabilities or known medical condition.
 16      74.      Defendants Costco were each an "employer" pursuant to Cal. Gov. Code§§ 12900 et seq.
 17      and therefore a covered entity.
 18      75.      At all _times relevant herein, Plaintiff was an employee of Defendant Costco.
 19      76.      At all times relevant herein, Plaintiff had physical limitations resulting from Plaintiffs
20       aforesaid disabilities, which were known to Defendant Costco and DOES 1-100, as aforesaid.
21       ,.,,.,   Defendants Costco and DOES 1 through 100 failed to engage in the mandatory good faith
         I I.


22       interactive process with Plaintiff through the following, among others:
23                a)     In August 2019, Plaintiff sustained disabilities to her feet and proceeded to take
24                legally protected medical leave until October 2019.
25                b)     Subsequently, in or around November 2019, Plaintiff took further legally
26                protected medical leave to after suffering disabilities to her hips and returned
27                approximately three weeks later with a restriction of no sweeping; Plaintiff was able to
28                work with these restrictions.




                                                           20
                                             COMPLAINT FOR DAMAGES
                                                                                        EXHIBIT A, PAGE 23
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                                                                                                          t•




  1        c)     Manager Brenda Doe, on a severe a~d/or pervasive basis would demean and
  2        swear at Plaintiff saying comments like, "what the fuck are you doing" and "stop picking
  3       the smallest fucking broom," among other similar comments.
  4        d)     Furthermore, despite having knowledge of Plaintiff's disabilities, Defendant

  5       Brenda Doe would consistently assign Plaintiff heavy work, even though Plaintiff

  6       complained that work was too hard on her disabilities.

  7       e)      Moreover, Manager Brenda Doe would consistently demand to see Plaintiffs

  8       doctor's notes and state, "without a doctor's note, it does not matter if your back hurts,"
  9       and never engaged in the mandatory good faith interactive process with Plaintiff
 10       f)      Plaintiff discussed her sweeping restriction in or around January 2020 with

 11       Human Resources Representative, Defendant Julie Doe.

 12       g)      However, rather than engage in the good faith interactive process and assess the

 13       nature and extent of Plaintiff's disabilities, Defendant Gus Doe angrily questioned her
 14       restrictions and stated: "Why can't you sweep? You have restrictions for sweeping?"
 15       among other similar comments.

 16       h)      Moreover, on or about February 15, 2020, Defendants called Plaintiff into a

 17       meeting and unlawfully tried to coerce Plaintiff to remove her restrictions by her doctor,

 18       insisting she be 100% healed to work her job.

 19       i)      During the meeting, Defendant Robles threateningly told Plaintiff, "You need to

20        take this paper to the doctor and show him this paper, if you want to work, you need to

21        have the restrictions removed. [It] is not fair for other people to do their day-to-day tasks

22        and that you need assistance or are exempt from certain tasks due to your restrictions."

23        j)     Moreover, Defendant Allan Doe followed up by stating, "We have no job for you

24        because you have restrictions. Go have your restrictions removed."

25        k)     At no point during the meeting did Defendants engage m the good faith

26        interactive process to learn about the nature and extent of Plaintiffs disabilities.

27        l)     On or about March 2, 2020, Plaintiff took protected legal action by wearing a

28        mask and gloves at work in light of the COVID-19 pandemic, which was recommended
          by her doctor due to her weak immune system.


                                                    21
                                      COMPLAINT FOR DAMAGES

                                                                                 EXHIBIT A, PAGE 24
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               ,,


     1               m)      Defendant Gus rather than engage in the good faith interactive process and assess
     2               the nature and extent of Plaintiffs disabilities, berated Plaintiff for wearing a mask and
     3               gloves by stating, "Are you sick? No. Then you can't wear a mask. The only people
     4               allowed   to wear a mask are the sick people." Defendant Gus Doe refused to allow
     5               Plaintiff to wear the mask in response to the Plaintiff stating, "I need it for my health, my
     6               defenses are slow."
     7               n)     Plaintiff was forced out on leave of absence beginning March 3, 2020, when
     8               Defendants falsely detennined that she was unable to perform the essential functions of a
  9                  Front-End Assistant, even though she was able to work with reasonable accommodations
 10                  including working the doors, performing stock, re-wrapping items, folding clothes, and
11                   walking to check the refrigerators.
12                  o)      Further, Defendant Allan Doe demonstrated the failure to engage in the good faith
13                  interactive process when he told Plaintiff there was no job for her at this Costco, even
14                  though all her supervisors were happy with her work, because of her restrictions. When
15                  Plaintiff mentioned the reasonable accommodations she could still do, such as working
16                  the doors, Defendant Allan Doe stated she would have to push carts despite never

17                  pushing carts previously.

18                  p)      Despite Plaintiffs ability to continue working with the same reasonable

19                  accommodations as she had been since January 2020, Plaintiff was forced out on leave

20                  indefinitely by Defendants, due in substantial part to her disabilities and need for

21                  accorr1modation.
22                  q)      Defendants concluded the March 3, 2020, meeting by stating, "you are not

23                  tenninated but you cannot come back to work at this Costco. If you change/modify the

24                  restrictions, maybe we can bring you back at this store." This directly evidencing

25                  Defendants failure to engage in the good faith interactive process.

26                  r)     At least through January 20, 2021 and continuing, Defendants failed and/or

27                  refused to investigate Plaintiff's complaints and take appropriate remedial actions.

28       78.        At all times relevant herein, Plaintiff was willing to participate in an interactive process

         to determine whether reasonable accommodations could be made.


                                                            22
                                                COMPLAINT FOR DAMAGES
                                                                                          EXHIBIT A, PAGE 25
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     1    79.    Pursuant to Cal. Code of Regs. ("CCR") § 11069(b)(2), an employer or other covered

  2      entity shall initiate an interactive process when the employer or other covered entity otherwise

  3      becomes aware of the need for an accommodation through a third party or by observation.
  4      80.     At all times relevant herein, Defendant Costco and DOES 1 through 100 were aware
  5      and/or had notice of Plaintiffs disabilities and/or need for accommodations pursuant to C.C.R. §
  6      11069(b)(2).

  7      81.     However, despite their duty to do so, Defendant Costco and DOES 1 through 100 failed

  8      to timely initiate and thereafter participate in a good-faith interactive process with Plaintiff to
  9      determine whether reasonable accommodations could be made.
 10      82.     Defendant Costco and DOES I through I 00 failure to engage in a good-faith interactive
 11      process was a substantial factor in causing Plaintiffs harm.
 12      83.     In doing the acts alleged herein, Defendant Costco, and DOES 1 through 100, and each of
 13      them, were substantially motivated by Plaintiffs actual/perceived disabilities, need for
 14      accommodations, and/or need for legally protected finite medical leave.
 15      84.    At all times relevant herein, Plaintiff believes and further alleges that Defendant Costco
 16      and/or its agents/representatives failed to timely, properly, and/or completely investigate the
 17      unlawful conduct Plaintiff was routinely subjected to, and instead ratified and condoned the
 18      unlawful behavior.
 19      85.    Prior to the initiation of this lawsuit, Plaintiff filed a timely complaint against each named
 20      Defendant with the DFEH pursuant to Cal. Government Code § 12900 et seq. and has received
21       Right-to-Sue notices in a California Superior Court pursuant to California Government Code §
22       12965(b). Attached hereto and incorporated herein as Exhibit "A" are said Complaints and by
23       reference hereto are made a part hereof. Attached hereto and incorporated herein as Exhibit "B"

24       are said Right-to-Sue notices and by reference hereto are made a part hereof. Plaintiff has
25       therefore exhausted Plaintiffs administrative remedies under the California Government Code.
26       86.    As a direct and legal result of the acts and omissions of Defendant Costco and DOES 1

27       through 100, Plaintiff was ren~ered sick, sore, lame, disabled and/or disordered, both internally
28       and externally, and/or suffered, among other things, numerous internal injuries, severe fright,
         shock, pain, discomfort and/or anxiety.


                                                         23
                                           COMPLAINT FOR DAMAGES

                                                                                      EXHIBIT A, PAGE 26
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     1    87.     As a further legal result of the acts and omissions of Defendant Costco and DOES 1
     2    through 100, Plaintiff has been forced and/or will be forced to incur expenses for medical care,
     3    X-rays, and/or laboratory costs during the period of Plaintiffs disabilities, and is informed and ,
     4    believes, and thereon alleges, that Plaintiff will in the future be forced to incur additional

     5    expenses of the same nature, all in an amount which is at present unknown. Plaintiff will pray

     6    leave of court to show the exact amount of said expenses at the time of trial.
     7    88.     Prior to the occurrence of the incidents, Plaintiff was an able-bodied individual, but since
  8       said incidents has been unable to engage fully in Plaintiffs occupation, and is informed and
  9       believes, and thereon alleges, that Plaintiff will be fully and/or partially incapacitated and/or

 10      unable to perform Plaintiffs usual work for an indefinite period of time in the future, all to

 11      Plaintiffs damage in an amount which is at present unascertained. Plaintiff will pray leave of
 12      court to show the total amount of loss of earnings at the time of trial.
 13      89.     As a further direct and legal result of the acts and conduct of Defendant Costco and
 14      DOES 1 through 100, Plaintiff has been caused, and did suffer, and continues to suffer severe

 15      and permanent emotional and mental distress and anguish, humiliation, embarrassment, fright,

 16      shQck, pain, discomfort and/or anxiety. The exact nature and extent of said injuries is presently
 17      unknown to Plaintiff, who will pray leave of court to assert the same when they are ascertained.
 18      90.     By the aforesaid acts and conduct of Defendant Costco, and DOES 1 through I 00,
 19      Plaintiff has been directly and legally caused to suffer actual damages pursuant to California
20       Civil Code § 3333 including, but not limited to, loss of earnings and future earning capacity,

21       medical and related expenses for care and procedures both now and in the future, attorney's fees,
22       and/or other pecuniary loss not presently ascertained, for which Plaintiff will seek leave of court
23       to amend when ascertained.
24       91.     As a result of Defendant Costco's failure to initiate and participate in the good-faith
25       interactive process, as alleged herein, Plaintiff is entitled to reasonable attorney's fees and costs
26       of said suit as specifically provided in California Government Code § 12965(b).
27       92.    The FERA also provides remedies, including but not limited to, declaratory and

28       injunctive relief. As such, Plaintiff is entitled to both declaratory and injunctive relief as a result
         of Defendant Costco' s unlawful conduct.

                                                          24
                                             COMPLAINT FOR DAMAGES
                                                                                        EXHIBIT A, PAGE 27
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  1   93.     Plaintiff has been damaged in an amount within the jurisdictional limits of this Court.
  2                                                    V
  3                                      FIFTH CAUSE OF ACTION
                                         For Failure to Accommodate
  4
                                 [California Government Code§ 12940 et seq.]
  5
                             Against Defendant Costco & DOES 1 Through 100, Only
  6
  7   94.    Plaintiff incorporates herein by reference and re-alleges each and every paragraph in this

  8   Complaint as though duly set forth in full herein.

  9   95.    At all times relevant herein, Plaintiff was an employee of Costco and DOES 1 through

 10   100.

 11   96.    At all times relevant herein, Defendant Costco were aware and/or had notice of Plaintiffs

 12   disabilities and/or need for accommodations pursuant to C.C.R. § 11069(b)(2).

 13   97.    At all times relevant herein, Plaintiff was able to perfonn the essential job duties with

 14   and/or without reasonable accommodations for Plaintiffs disabilities.

 15   98.    At all times relevant herein, Defendant Costco and DOES I through 100 failed to provide

 16   reasonable accommodations to Plaintiff's for injuries and/or disabilities as required by Cal. Gov.

 17   Code§ 12940.

 18   99.    Defendants        Costco and DOES      1 through      100 failed to provide reasonable

 19   accommodations to Plaintiff through the following, among others:

 20          a)      In August 2019, Plaintiff sustained disabilities to her feet and proceeded to take

 21          legally protected medical leave until October 2019.

22           b)      After returning to work, while expressing anger and frustration, Defendant Gus

23           Doe began to purposefully ignore and distance himself from Plaintiff as well leer and

24           stare at her on a severe and/or pervasive basis due in substantial part to Plaintiffs

25           disabilities.

26           c)      Subsequently, m or around November 2019, Plaintiff took further legally

27           protected medical leave to after suffering disabilities to her hips and returned

28           approximately three weeks later with a restriction of no sweeping; Plaintiff was able to
             work with these restrictions.


                                                      25
                                         COMPLAINT FOR DAMAGES

                                                                                  EXHIBIT A, PAGE 28
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     1     d)             Manager Brenda Doe, on a severe and/or pervasive basis would demean and
     2     swear at Plaintiff, saying comments like, "what the fuck are you doing" and "stop picking
     3     the smallest fucking broom," among other similar comments.
  4        e)             Furthermore, despite having knowledge of Plaintiffs disabilities, Manager
     5     Brenda Doe would consistently assign Plaintiff heavy work, even though Plaintiff
  6        complained that work was too hard on her disabilities.
  7        f)             Moreover, Manager Brenda Doe would consistently demand to see Plaintiff's
  8        doctor's notes and state, "without a doctor's note, it does not matter if your back hurts."
  9        g)             Plaintiff discussed her sweeping restriction in or around January 2020 with
 10        Human Resources Representative, Defendant Julie Doe.
 11       h)              Consequently, instead of reasonably accommodating Plaintiff, Defendant Gus
 12       Doe angrily questioned her restrictions and stated: "Why can't you sweep? You have
 13       restrictions for sweeping," among other similar comments.
 14       i)             Thereafter, Plaintiff attempted to transfer to the optical department but was denied
 15       by Defendant Robles who stated she needed a special license, which is untrue. Plaintiff
 16       was aware of at least three individuals working in Optical without the license, which
 17       further demonstrates Defendant's failure to reasonably accommodate Plaintiff.
 18       j)             Moreover, on or about February 15, 2020, Defendants called Plaintiff into a

 19       meeting and unlawfully tried to coerce Plaintiff to remove her restrictions by her doctor,

20        insisting she be 100% healed to work her job, thereby directly evidencing Defendants
          ..,,.4;~,..al1 +n. ..,,.,..S""llal-..1,, "'""""......,.......,.,...Aa+"' Dla; ... +;+:'.f'
21        l\,,.l.Ui3     LV l\,,Q VI        Vl:Y Q\,,\,,VllllllVU L.\,, .I. 1 1111.1.U.,



22        k)             During the meeting, Defendant Robles threateningly told Plaintiff, "You need to

23        take this paper to the doctor and show him this paper, if you want to work, you need to

24        have the restrictions removed. [It] is not fair for other people to do their day-to-day tasks

25        and that you need assistance or are exempt from certain tasks due to your restrictions,"

26        thereby further directly evidencing failure to accommodate.

27        l)            Moreover, Defendant Allan Doe followed up by stating, "We have no job for you

28       because you have restrictions. Go have your restrictions removed," thereby further
         directly evidencing failure to accommodate.


                                                                                         26
                                                               COMPLAINT FOR DAMAGES
                                                                                                       EXHIBIT A, PAGE 29
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  1           m)     On or about March 2, 2020, Plaintiff took protected legal action by wearing a
  2           mask and gloves at work in light of the COVID-19 pandemic, which was recommended
  3           by her doctor due to her weak immune system.
  4           n)     Defendant Gus Doe berated Plaintiff for wearing a mask and gloves by stating,
  5           "Are you sick? No. Then you can't wear a mask. The only people allowed to wear a mask
  6           are the sick people." Defendant Gus Doe refused to allow Plaintiff to wear the mask in
  7           response to the Plaintiff stating, "I need it for my health, my defenses are slow." This
  8           directly evidences Defendants refusal to reasonably accommodate Plaintiff.
  9           o)     Plaintiff was forced out on leave of absence beginning March 3, 2020, when
 10           Defendants falsely determined that she was unable to perform the essential functions of a
 11           Front-End Assistant, even though she was able to work with reasonable accommodations
 12           including working the doors, performing stock, re-wrapping items, folding clothes, and
 13          walking to check the refrigerators.
 14          p)      Furthermore, even though all Plaintiffs supervisors were happy with her work,
 15          Defendant Allan Doe told Plaintiff that there was no job for her at this Costco because of
 16          her restrictions and when Plaintiff mentioned the· reasonable accommodations she could
 17          still do, such as working the doors, Defendant Allan Doe stated she would have to push
 18          carts despite never pushing carts previously.
 19          q)      Despite Plaintiffs ability to continue working with the same reasonable
20           accommodations as she had been since January 2020, Plaintiff was forced out on leave

21           indefinitely by Defendants, directly evidencing failure to reasonably accommodate.
22           r)      Defendants concluded the March 3, 2020, meeting by stating, "you are not
23           terminated but you cannot come back to work at this Costco. If you change/modify the
24           restrictions, maybe we can bring you back at this store." This further directly evidences
25           Defendants failure to accommodate.

26           s)      As of January 20, 2021, and ongoing Defendant Costco has yet to make any effort
27           to reasonably accommodate Plaintiff for her disabilities.
28    100.   Cal. Gov. Code § 12940 provides that it is an unlawful employment practice for an
      employer or other entity covered by this part to fail to make reasonable accommodations for the
      known physical or mental disabilities of an applicant or employee.
                                                     27
                                        COMPLAINT FOR DAMAGES

                                                                                EXHIBIT A, PAGE 30
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     1    101.     At all times relevant herein, Plaintiff was an actual, perceived, and/or potentially disabled
  2       person within the meaning of Cal. Gov. Code §§ 12926.l(b) et seq., because Plaintiff was a
  3       person with an actual, perceived, potentially disabling, and/or potentially disabling in the future
  4       physical/mental disabilities(s) including, but not limited to: foot and knee disabilities, among
  5       other related conditions and/or disabilities.
  6       I 02.   Plaintiff is informed, believes, and herein alleges Defendant Costco was an "employer''
  7      pursuant to Cal. Gov. Code§§ 12900 et seq. and therefore a covered entity.
  8       103.    Plaintiff was banned as a result of Defendant Costco's failure to provide reasonable
  9      accommodations.
 10      104.     Defendant Costco failure to provide reasonable accommodations was a substantial factor
 11      in causing Plaintiffs harm.
 12      105.     At all times relevant herein, Plaintiff believes and further alleges that Defendant Costco
 13      and DOES 1 through 100 and/or their agents/representatives failed to timely, properly, and/or
 14      completely investigate the unlawful conduct Plaintiff was routinely subjected to, and instead
 15      ratified and condoned the unlawful behavior.
 16      106.     In doing the acts alleged herein, Defendant Costco, and DOES l through l 00, and each of
17       them, were substantially motivated by Plaintiffs actual/perceived disabilities, need for
18       accommodations, and/or need for legally protected finite medical leave.
19       107.     Prior to the initiation of this lawsuit, Plaintiff filed a timely complaint against each named
20       Defendant with the DFEH pursuant to Cal. Government Code § 12900 et seq. and has received
21       Right-to-Sue notices in a California Superior Court pursuant to California GoverruTient Code §
22       12965(b). Attached hereto and incorporated herein as Exhibit "A" are said Complaints and by
23       reference hereto are made a part hereof. Attached hereto and incorporated herein as Exhibit "B"
24       are said Right-to-Sue notices and by reference hereto are made a part hereof. Plaintiff has
25       therefore exhausted Plaintiffs administrative remedies under the California· Government Code.
26       108.     As a direct and legal result of the acts and omissions of Defendant Costco and DOES 1
27       through 100, Plaintiff was rendered sick, sore, lame, disabled and/or disordered, both internally
28       and externally, and/or suffered, among other things, numerous internal injuries, severe fright,
         shock, pain, discomfort and/or anxiety.


                                                           28
                                             COMPLAINT FOR DAMAGES
                                                                                        EXHIBIT A, PAGE 31
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  1    109.    As a further legal result of the acts and omissions of Defendant Costco and DOES I
  2   through 100, Plaintiff has been forced and/or will be forced to incur expenses for medical care,
  3   X-rays, and/or laboratory costs during the period of Plaintiffs disabilities, and is informed and
  4   believes, and thereon alleges, that Plaintiff will in the future be forced to incur additional

  5   expenses of the   same nature, all in an amount which is at present unknown. Plaintiff will pray
  6   leave of court to show the exact amount of said expenses at the time of trial.
  7   110.     Prior to the occurrence of the incidents, Plaintiff was an able-bodied individual, but since

  8   said incidents has been unable to engage fully in Plaintiffs occupation, and is informed and
  9   believes, and thereon alleges, that Plaintiff will be fully and/or partially i~capacitated and/or
 10   unable to perform Plaintiffs usual work for an indefinite period of time in the future, all to

 11   Plaintiffs damage in an amount which is at present unascertained. Plaintiff will pray leave of

 12   court to show the total amount of loss of earnings at the time of trial.
 13   I I I.   As a further direct and legal result of the acts and conduct of Defendant Costco and
 14   DOES I through I 00, Plaintiff has been caused, and did suffer, and continues to suffer severe
 15   and permanent emotional and mental distress and anguish, humiliation, embarrassment, fright,
 16   shock, pain, discomfort and/or anxiety. The exact nature and extent of said injuries is presently

 17   unknown to Plaintiff, who will pray leave of court to assert the same when they are ascertained.
 18   112.     By the aforesaid acts and conduct of Defendant Costco and DOES 1 through l 00,
 19   Plaintiff has been directly and legally caused to suffer actual damages pursuant to California
20    Civil Code § 3333 including, but not limited to, loss of earnings and future earning capacity,
21    medical and related expenses for care and procedures both now and in the future, attorney's fees,
22    and/or other pecuniary loss not presently ascertained, for which Plaintiff will seek leave of court
23    to amend when ascertained.

24    113.     As a result of Defendant Costco's failure to initiate and participate in the good-faith
25    interactive process, as alleged herein, Plaintiff is entitled to reasonable attorney's fees and costs
26    of said suit as specifically provided in California Government Code § 12965(b).
27    114.     The FEHA also provides remedies, including but not limited to, declaratory and
28    injunctive relief. As such, Plaintiff is entitled to both declaratory and injunctive relief as a result

      of Defendant Costco' s unlawful conduct.


                                                        29
                                          COMPLAINT FOR DAMAGES

                                                                                     EXHIBIT A, PAGE 32
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     1    115.    Plaintiff has been damaged in an amount within the jurisdictional limits of this Court.
     2                                                     VI.
     3                                       SIXTH CAUSE OF ACTION
  4                              For Violation of the California Family Rights Act
  5                              [California Government Code §§ 12945.2 et seq.]
  6                           Against Defendant Costco & DOES 1 Through 100, Only
  7       116.   Plaintiff incorporates herein by reference and re-alleges each and every paragraph in this
  8      Complaint as though duly set forth in full herein.
  9       117.   Plaintiff has been employed by Costco since 2001.
 IO       118.   Plaintiff was an employee of Defendant Costco who qualified for leave due to an actual
 11      physical/mental disability(s) and for medical p~rposes pursuant to California Government Code
 12      §§ 12945.2 et seq.
 13      119.    Plaintiffs impairments affect her mental and physical health and ability to perform major
 14      life activities, such as working.
 15      120.    At all times herein mentioned, Defendant Costco was an employer who regularly
 16      employed 50 or more employees, and therefore within the definition provided by California
 17      Government Code§ 12945.2.
 18      121.    Plaintiff worked for Defendant Costco for over one (1) year and worked over 1250 hours
 19      in the year prior to taking and/or request for medical leave.
20       122.    At all times relevant herein, Plaintiff was an actual, perceived, and/or potentially disabled
21
22       person with an actual, perceived, potentially disabling, and/or potentially disabling in the future

23       physical/mental disability(s) including, but not limited to: disabilities to her knees, elbows,

24       Plaintiff suffered from anxiety, and other related disabilities.
25       123.    Plaintiff was affected by her physical/mental disability(s) during her employment, and
26       continuing thereafter through January 20, 2021, and continuing, thereby entitling Plaintiff to
27       medical leave pursuant to the California Family Rights Act ("CFRA").
28       124.    Plaintiff informed Defendant Costco and its relevant Supervisors of her disability,
         restrictions, need for accommodations, and need/potential need for protected medical leave.


                                                           30
                                             COMPLAINT FOR DAMAGES
                                                                                      EXHIBIT A, PAGE 33
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  1   125.    As a result of Plaintiff requesting and/or taking legally protected CFRA medical leave,

  2   Plaintiff was subjected to further discriminatory and retaliatory treatment by Defendant Costco

  j   including, but not limited to:
  4          a)       In August 2019, Plaintiff sustained disabilities to her feet and proceeded to take
  5          protected CFRA medical leave until October 2019.
  6          b)       After returning to work, while expressing anger and frustration, Defendant Gus
  7          Doe began to purposefully ignore and distance himself from Plaintiff as well leer and

  8          stare at her on a severe and/or pervasive basis, thereby directly evidencing discriminatory
  9          and retaliatory animus towards Plaintiff for taking CFRA leave.
 10          c)       Subsequently, in or around November 2019, Plaintiff took further legally
 11          protected medical leave to after suffering disabilities to her hips and returned
 12          approximately three weeks later with a restriction of no sweeping; Plaintiff was able to

 13          work with these restrictions.
 14          d)       Manager Brenda Doe, on a severe and/or pervasive basis would demean and
 15          swear at Plaintiff, saying comments like, "what the fuck are you doing" and "stop picking
 16          the smallest fucking broom," among other similar comments.
 17          e)       Furthermore, despite having knowledge of Plaintiff's disabilities, Manager

 18          Brenda Doe would consistently assign Plaintiff heavy work, even though Plaintiff

 19          complained that work was too hard on her disabilities, thereby directly evidencing

20           discriminatory and retaliatory animus due in part to Plaintiff taking protected medical

21           leave.

22           f)       Moreover, Manager Brenda Doe would consistently demand to see Plaintiffs

23           doctor's notes and state, "without a doctor's note, it does not matter if your back hurts,"

24           thereby directly evidencing discriminatory animus and retaliatory animus due in part to

25           Plaintiff taking protected medical leave.

26           g)       Plaintiff discussed her sweeping restriction in or around January 2020 with

27           Human Resources Representative, Defendant Julie Doe.

28           h)       However, rather than engage in the good faith interactive process and assess the
             nature and extent of Plaintiffs disabilities, Defendant Gus Doe angrily questioned her
             restrictions and stated: "Why can't you sweep? You have restrictions for sweeping?"
                                                   31
                                        COMPLAINT FOR DAMAGES

                                                                                 EXHIBIT A, PAGE 34
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     1    among other similar comments, thereby directly evidencing discriminatory and retaliatory
     2    animus towards Plaintiff for taking CFRA leave.
     3    i)      Thereafter, Plaintiff attempted to transfer to the optical department but was denied
     4    by Defendant Robles who stated she needed a special license, which is untrue. Plaintiff
     5    was aware of at least three individuals working in Optical without the license, further
     6    demonstrating Defendant's retaliatory animus towards Plaintiff for taking CFRA leave.
     7    j)      Moreover, on or about February 15, 2020, Defendants called Plaintiff into a
  8       meeting and unlawfully tried to coerce Plaintiff to remove her restrictions by her doctor,
  9       insisting she be 100% healed to work her job and retaliatory animus towards Plaintiff for
 10       taking CFRA leave.

 11       k)     During the meeting, Defendant Robles threateningly told Plaintiff, "You need to
12        take this paper to the doctor and show him this paper, if you want to work, you need to
13        have the restrictions removed. [It] is not fair for other people to do their day-to-day tasks
14        and that you need assistance or are exempt from certain tasks due to your restrictions."

15        I)     Moreover, Defendant A11an Doe followed up by stating, "We have no job for you

16        because you have restrictions. Go have your restrictions removed."

17        m)     Plaintiff was forced out on leave of absence beginning March 3, 2020, when

18        Defendants falsely determined that she was unable to perform the essential functions of a

19       Front-End Assistant, even though she was able to work with ·reasonable accommodations

20       including working the doors, perfonning stock, re-wrapping items, folding clothes, and

21       walking to check the refrigerators.

22       n)      Furthermore, even though all Plaintiffs supervisors were happy with her work,

23       Defendant Allan Doe told Plaintiff that there was no job for her at this Costco because of

24       her restrictions and when Plaintiff mentioned the reasonable accommodations she could

25       still do, such as working the doors, Defendant Allan Doe stated she would have to push

26       carts despite never pushing carts previously.

27       o)      Despite Plaintiffs ability to continue working with the same reasonable

28       accommodations as she had been since January 2020, Plaintiff was forced out on leave

         indefinitely by Defendants, thereby directly evidencing Defendants retaliatory animus
         towards Plaintiff for taking CFRA leave.
                                                32
                                    ~OMPT,ATNTFOR DAMAGRS
                                                                                EXHIBIT A, PAGE 35
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  1           p)       At least through January 20, 2021 and continuing, Defendants failed and/or
  2           refused to investigate Plaintiffs complaints and take appropriate remedial actions.
  3   126.    In doing the acts alleged herein, Defendant Costco and DOES 1 through 100, and each of
  4   them, were substantially motivated by Plaintiff requesting and/or taking legally protected CFRA
  5   medical leave.
  6   127.    At all times relevant herein, Plaintiff believes and further alleges Defendant Costco
  7   and/or its agents/representatives failed to timely, properly, and/or completely investigate the
  8   discrimination and/or retaliation Plaintiff was subjected to based on Plaintiff requesting and/or
  9   taking protected CFRA leave, and instead ratified and condoned the unlawful conduct.
 10   128.    By the acts and conduct described above, Defendant Costco, in violation of said statutes,
 11   knew about, or should have known about, and failed to investigate and/or properly investigate,
 12   prevent or remedy the retaliation and discrimination in violation of the CFRA. The acts of
 13   discrimination and retaliation described herein were sufficiently pervasive so as to alter the
 14   conditions of employment and created an abusive working environment.
 15   129.   Prior to the initiation of this lawsuit, Plaintiff filed a timely complaint against each named
 16   Defendant with the DFEH pursuant to Cal. Government Code§ 12900 et seq. and has received
 17   Right-to-Sue notices in a California Superior Court pursuant to California Government Code §
 18   l 2965(b). Attached hereto and incorporated herein as Exhibit "A" are said Complaints and by
 19   reference hereto are made a part hereof. Attached hereto and incorporated herein as Exhibit "B"
20    are said Right-to-Sue notices and by reference hereto are made a part hereof. Plaintiff has
21    therefore exhausted Plaintiff's administrative remedies under the California Government Code.
22    130.   As a direct and legal result of the acts and omissions of Defendant Costco and DOES 1
23    through 100, Plaintiff was rendered sick, sore, lame, disabled and/or disordered, both internally
24    and/or externally, and/or suffered, among other things, numerous internal injuries, severe fright,
25    shock, pain, discomfort and/or anxiety.
26    131.   As a further legal result of the acts and omissions of Defendant Costco and DOES 1
27    through 100, Plaintiff has been forced and/or will be forced to incur expenses for medical care,
28    X-rays, and/or laboratory costs during the period of Plaintifrs disability, and/or is informed and
      believes, and thereon alleges, that Plaintiff will in the future be forced to incur additional


                                                      33
                                        COMPLAINT FOR DAMAGES

                                                                                   EXHIBIT A, PAGE 36
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     1    expenses of the same nature, all in an amount which is at present unknown. Plaintiff will pray
     2    leave of court to show the exact amount of said expenses at the time of trial.
     3    132.    Prior to the occurrence of the incidents, Plaintiff was an able-bodied individual, but since
  4       said incidents has been unable to engage fully and/or partially in Plaintiffs occupation, and is
  5       informed and believes, and thereon alleges, that Plaintiff will be fully and/or partially
  6       incapacitated and/or unable to perform Plaintiffs usual work for an indefinite period of time in
  7       the future, all to Plaintiffs damage in an amount which is at present unascertained. Plaintiff will
  8       pray leave of court to show the total amount of loss of earnings at the time of trial.

 9        133.   As a further direct and legal result of the acts and conduct of Defendant Costco and
 10       DOES 1 through 100, Plaintiff has been caused, and did suffer, and continues to suffer severe
11        and permanent emotional and/or mental distress and/or anguish, humiliation, embarrassment,
12        fright, shock, pain, discomfort and/or anxiety. The exact nature and extent of said injuries is
'13      presently unknown to Plaintiff, who will pray leave of court to assert the same when they are
14        ascertained.
15        134.   By the aforesaid acts and conduct of Defendant Costco and DOES 1 through 100,
16       Plaintiff has been directly and legally caused to suffer actual damages pursuant to California
17       Civil Code § 3333 including, but not limited to, loss of earnings and future earning capacity,
18       medical and related expenses for care and procedures both now and in the future, attorneys' fees,
19       and other pecuniary loss not presently ascertained, for which Plaintiff will seek leave of court to
20       amend when ascertained.
21       135.    As a result of the unlawful acts of Defendant Costco a..,d DOES 1th.rough 100, as alleged
22       herein, Plaintiff is entitled to reasonable attorneys' fees and costs of sai~ suit as specifically
23       provided in California Government Code § 12965(b).
24       136.    Plaintiff has been damaged in an amount within the jurisdictional limits of this Court.

25       Ill
26       Ill
27       Ill
28       Ill




                                                          34
                                            COMPLAINT FOR DAMAGES
                                                                                        EXHIBIT A, PAGE 37
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  1                                                   VII.

  2                                   SEVENTH CAUSE OF ACTION

  3                                     For Whistleblower Violations
  4                                    [California Labor Code§ 1102.S]

  5                       Against Defendant Costco & DOES 1 Through 100, Only
  6   137.   Plaintiff incorporates herein by reference each and every paragraph in this Complaint as
  7   though duly set forth in full herein.
  8          Defendant Costco, and DO~S 1 through 100, retaliated against Plaintiff for blowing the
      138.
  9
      whistle/complaining about/protesting against its unlawful activities, including but not limited to
 10
      actual/perceived disability, age, and sex/gender harassment, discrimination, and retaliation,
 11
      where Plaintiff had reasonable cause to believe Plaintiff's employer was violating the law.
 12
      139.   It is a violation of the California whistleblower statute, Cal. Labor Code § 1102.5, and
 13
      public policy to unlawfully retaliate/punish/discharge or deny opportunities to an employee for
 14
      refusing to violate the law and/or for protesting unlawful activities to a government agency or
 15
      his/her employer.
 16
      140.   Plaintiff was a whistleblower pursuant to Cal. Labor Code § 1102.5, as Plaintiff engaged
 17
 18   in the following protected activities, among. others:
             a)      In August 2019, Plaintiff sustained disabilities to her feet and proceeded to take
 19
 20
             legally protected medical leave until October 2019.

             b)      Subsequently, in or around November 2019, Plaintiff took further legally
 21
             protected medical leave to after suffering disabilities to her hips and returned
 22
             approximately three weeks later with a restriction of no sweeping; Plaintiff was able to
 23
 24
             work with these restrictions.
             c)      Manager Brenda Doe would consistently assign Plaintiff heavy work, even
 25
             though Plaintiff complained that work was too hard on her disabilities.
 26
             d)      Plaintiff discussed her sweeping restriction in or around January 2020 with
 27
             Human Resources Representative, Defendant Julie Doe.
 28



                                                       35
                                          COMPLAINT FOR DAMAGES

                                                                                 EXHIBIT A, PAGE 38
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     1             e)      On or about March 2, 2020, Plaintiff took protected legal action by wearing a
     2             mask and gloves at work in light of the COVID-19 pandemic, which was recommended
     3             by her doctor due to her weak immune system.
     4             f)      Furthermore, due to the ongoing COVID-19 Pandemic, Plaintiff protested to be
     5             able to wear the mask to Defendant Gus Doe, telling him, "I need it for my health, my
     6             defens es are slow." The inability to wear a mask at Costco indicates an unsafe work
     7             environment.

  8      14 I.·    However, as a direct result of Plaintiff engaging in legally protected activity and

  9      complaining about and protesting against the aforesaid violations of law (or Plaintiffs
 10      reasonable belief that laws were being violated), Defendant Costco, and DOES 1 through 100
 11      retaliated against Plaintiff through the following, among others:
 12                a)     Despite having knowledge of Plaintiffs disabilities, Manager Brenda Doe, would
 13                consistently demand to see Plaintiffs doctor's notes and state, "without a doctor's note, it
 14                does not matter if your back hurts," thereby directly evidencing retaliatory animus.
 15               b)      After returning to work, whi]e expressing anger and frustration, Defendant Gus
16                Doe began to purposefully ignore and distance himself from Plaintiff as ~ell leer and
17                stare at her on a severe and/or pervasive basis due in substantial part to Plaintifrs
18                protesting., thereby directly evidencing retaliatory animus.
19                c)      However, rather than engage in the good faith interactive process and assess the
20                nature and extent of Plaintiffs disabilities, Defendant Gus Doe angrily questioned her
21                iestrictions and stated: "\Vhy can't you sweep? You have restrictions for sweeping?"
22                among other similar comments, thereby directly evidencing retaliatory animus.
23                d)      Thereafter, Plaintiff attempted to transfer to the optical department but was denied
24                by Defendant Robles who stated she needed a special license, which is untrue. Plaintiff

25                was aware of at least three individuals working in Optical without the license.

26                e)     Moreover, on or about February 15; 2020, Defendants called Plaintiff into a

27                meeting and unlawfully tried to coerce Plaintiff to get her restrictions modified by her
28                doctor to be in full compliance with the job, insisting she be 100% healed to work her
                  job.


                                                          36
                                             COMPLAINT FOR DAMAGES
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     1     f)     Moreover, on or about February 15, 2020, Defendants called Plaintiff into a
  2        meeting and unlawfully tried to coerce Plaintiff to remove her restrictions by her doctor,
  3        insisting she be 100% healed to work her job.
  4        g)     During the meeting, Defendant Robles threateningly told Plaintiff, "You need to
  5        take this paper to the doctor and show him this paper, if you want to work, you need to

  6       have the restrictions removed. [It] is not fair for other people to do their day-to-day tasks
  7       and that you need assistance or are exempt from certain tasks due to your restrictions,"
  8       thereby directly evidencing retaliatory animus.
  9       h)      Moreover, Defendant Allan Doe followed up by stating, "We have no job for you
 10       because you have restrictions. Go have your restrictions removed," thereby further

 11       directly evidencing ret~liatory animus.
 12       i)      Defendant Gus Doe berated Plaintiff for wearing a mask and gloves by stating,
 13       "Are you sick? No. Then you can't wear a mask. The only people allowed to wear a mask
 14       are the sick people." Defendant Gus Doe's refusal to let Plaintiff wear a mask despite the
 15       ongoing COVID-19 pandemic indicates an unsafe workplace and retaliatory animus.
 16       j)      Plaintiff was forced out on leave of absence beginning March 3, 2020, when

 17       Defendants falsely determined that she was unable to perform the essential functions of a
 18       Front-End Assistant, even though she was able to work with reasonable accommodations
 19       including working the doors, performing stock, re-wrapping items, folding clothes, and
20        walking to check the refrigerators.

21        k)     Furthermore, even though all Plaintiffs supervisors were happy with her work,

22        Defendant Allan Doe told Plaintiff that there was no job for her at this Costco because of
23        her restrictions and when Plaintiff mentioned the reasonable accommodations she could

24        still do, such as working the doors, Defendant Allan Doe stated she would have to push

25        carts despite never pushing carts previously.

26        1)     Despite Plaintiffs ability to continue working with the same reasonable

27        accommodations as she had been since January 2020, Plaintiff was forced out on leave

28        indefinitely by Defendants, due in substantial part to her protesting and engaging in
          protected lawful activity, thereby directly evidences retaliatory animus.


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     1            m)     Defendants concluded the March 3, 2020, meeting by stating, "you are not
     2            terminated but you cannot come back to work at this Costco. If you change/modify the
     3            restrictions, maybe we can bring you back at this store." This directly evidences
  4               retaliatory animus.
  5              n)      At least through January 20, 2021 and continuing, Defen_dants failed and/or
  6              refused to investigate Plaintiffs complaints and take appropriate remedial actions.

  7       300.   Accordingly, Defendant Costco and DOES 1 through 100 had and maintained a policy
  8       and/or practice which prevented/prevents Plaintiff and other employees from complaining about
  9       and/or protesting against his/her employer's violation(s) of law to a government agency, or
 10      reasonable belief that a law(s) is being violated.

 11      301.    California Labor Code§ 1102.5 declares:
 12
                 (a) An employer, or any person acting on behalf of the employer, shall not make,
 13                  adopt, or enforce any rule, regulation, or policy preventing an employee from
                     disclosing information to a government or law enforcement agency, to a
 14                  person with authority over the employee, or to another employee who has
                     authority to investigate, discover, or correct the violation or noncompliance,
 15                  or from providing information to, or testifying before, any public body
                     conducting an investigation, hearing, or inquiry, if the employee has
 16                  reasonable cause to believe that the information discloses a violation of state
                     or federal statute, or a violation of or noncompliance with a local, state, or
 17                  federal rule or regulation, regardless of whether disclosing the information is
                     part of the employee's job duties.                                              ·
 18
                 (b) An employer, or any person acting on behalf of the employer, shall not
 19                  retaliate against an employee for disclosing information, or because the
                     employer believes that the employee disclosed or may disclose information, to
20                   a government or law enforcement agency, to a person with authority over the
                     employee or another employee who has the authority to investigate, discover,
21                   or correct the violation or noncompliance, or for providing information to, or
                     testifying before, any public body conducting an investigation, hearing, or
22
                     inquiry, if the employee has reasonable cause to believe that the information
23                   discloses a violation of state or federal statute, or a violation of or
                     noncompliance with a local, state, or federal rule or regulation, regardless of
24                   whether disclosing the information is part of the employee's job duties.

25               (c) An employer, or any person acting on behalf of the employer, shall not
                     retaliate against an employee for refusing to participate in an activity that
26                   would result in a violation of state or federal statute, or a violation of or
                     noncompliance with a local, state, or federal rule or regulation.
27
28       302.    Defendant Costco and DOES 1 through 100 violated Cal. Labor Code § 1102.S(a) as it

         made, adopted, and enforced rules, regulation and policies preventing Plaintiff from disclosing


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  I   infonnation to government and law enforcement agencies or a person with authority over
  2   Plaintiff and/or authority to investigate, discover, investigate, or correct the violation, where
  3   Plaintiff had reasonable cause to believe Plaintiff's employer was violating the law.
  4           Defendant Costco and DOES 1 through 100 violated Cal. Labor Code § 1102.5(b) as it
      303.
  5
      retaliated against Plaintiff for protesting Defendants' unlawful actions, and/or because Defendant
  6
      Costco felt Plaintiff may protest, to a government or law enforcement agency or to a person with
  7
      authority over the employee and/or authority to investigate, discover, investigate, or correct the
  8
      violation.
  9
      304.    Plaintiff was retaliated against for filing and protesting discrimination per Cal. Gov't
 10
      Code § 12940 et seq.
 11
      305.    Plaintiff was retaliated against through the aforesaid acts by Defendant Costco and DOES
 12
      1 through 100 at least in part, because of Plaintiffs refusal to participate in an activity that would
 13
 14
      result in a violation of state or federal statutes (or Plaintiff reasonably believed to be in

 15   violation). Defendant Costco and DOES 1 through 100 were thus in violation of Cal. Labor Code

 16   § 1102.5(c).

 17   306.   Defendant deviated from its own policies and procedures, supporting a public interest in

 18   Plaintiffs seeking Defendants to comply with their own polices, and therefore Plaintiff seeks

 19   reasonably attorneys fees per CCP § 1021.5.
20    307.   At all times herein mentioned, the public policy of the State of California, as codified,
 21   expressed and mandated by California Government Code § 12940 et. seq., was to prohibit
22    employers from failing to engage in the mandatory good-faith interactive process with disabled
23    employees to detennine the extent of their disabilities and determine how they could be
24    reasonably accommodated. This public policy of the State of California is designed to protect all
25    employees and to promote the welfare and well-being of the community at large. The policy
26    inures to the benefit of the public and is fundamental and substantial.
27    308.   At all times herein mentioned, the public policy of the State of California, as codified,
28    expressed and mandated by California Government Code § 12945 et. seq., California Family
      Rights Act (CFRA), was to prohibit employers from failing to provide medical leave to disabled

                                                       39
                                         COMPLAINT FOR DAMAGES

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     1    employees and to prohibit employees from retaliating against an employee for taking extended

     2    medical leave. This public policy of the State of California is designed to protect all employees

     3    and to promote the welfare and well-being of the community at large. The policy inures to the
     4    benefit of the public and is fundamental and substantial.

     5    309.   At all times herein mentioned, the public policy of the State of California, as codified,

     6    expressed and mandated by California Government Code § 12940 et. seq., was to prohibit
     7    employers from failing to provide reasonable accommodations to disabled employees. This
  8       public policy of the State of California is designed to protect all employees and to promote the

  9       welfare and well-being of the community at large. The policy inures to the benefit of the public
 10       and is fundamental and substantial.

 11      310.    At all times herein mentioned, the public policy of the State of California, as codified,
 12      expressed and mandated in Cal. Labor Code §§ 6300 et seq. requires all employers take
 13      reasonable steps to provide a safe and secure workplace and to adopt safe practices and
 14      procedures.

 15      311.    At all times herein mentioned, the public policy of the State of California, as codified,

 16      expressed and mandated by California Labor Code §§ 6300 et seq. and 6400 et. seq., Cal. Health

 17      & Saf. Code § 1278.5(g), among others, was to prohibit employers from partaking in unsafe
18       workplace violations including providing employees with adequate safety equipment. This
19       public policy of the State of California is designed to protect all employees and to promote the
20       welfare and well-being of the community at large.

21       312.    At aU times herein mentioned, the public policy of the State of California, as codified,
22       expressed and mandated by California Labor Code § 1102.5 prohibited discrimination and/or
23       retaliation against employees blowing the whistle about their employers' unlawful activities.
24
         This public policy of the State of California is designed to protect all employees and to promote
25
         the welfare and well-being of the community at large.
26
         313.    When Plaintiff was subjected to the adverse employment actions identified above,
27
         Defendant Costco and DOES I through I 00, and each of them, were substantially motivated by
28
         Plaintiffs complaints of violations of state and/or federal law (or Plaintiffs re~sonable belief

         that a law(s) was being violated), and said complaints were substantial motivating factors and/or

                                                         40
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     1   reasons in the decision to subject Plaintiff to the aforesaid retaliatory, adverse employment
  2      actions, in violation of California Labor Code § 1102.5.
  3      314. · As a direct and legal result of the acts and omissions of Defendants Costco and DOES 1
  4
         through 100,. and each of them, Plaintiff was rendered sick, sore, lame, disabled and/or
  5
         disordered, both internally and/or externally, and suffered, among other things, emotional .
  6
         distress, including but not limited to shock, pain, discomfort and/or anxiety.
  7
         315.    As a further legal result of the acts and omissions of Defendants Costco and DOES 1
  8
         through 100, and each of them, Plaintiff has been forced to incur expenses for medical care, X-
  9
         rays, and/or laboratory costs during the period of Plaintiffs disability, and is infonned and
 10
         believes, and/or thereon alleges, that Plaintiff will in the future be forced to incur additional
 11
         expenses of the same nature, all in an amount which is at present unknown. Plaintiff will pray
 12
         leave of court to show the exact amount of said expenses at the time of trial.
 13

 14      316.    Prior to the occurrence of the incidents, Plaintiff was an able-bodied individual, but since

 15      said incidents has been unable to engage fully in Plaintiffs occupation, and/or is infonned and

 16      believes, and thereon alleges, that Plaintiff will be partially and/or fully incapacitated and/or

 17      unable to perform Plaintiff's usual work for an indefinite period of time in the future, all to

 18      Plaintiffs damages in an amount which is at present unascertained. Plaintiff will pray leave of

 19      court to show the total amount of loss of earnings at the time of trial.

20       317.   As a further direct and legal result of the acts of Defendants Costco and DOES 1 through
21       100 Plaintiff has been caused, and did suffer, and continues to suffer severe and/or permanent
22       emotional and/or mental distress and anguish, humiliation, embarrassment, fright, shock, pain,
23
         discomfort and/or anxiety. The exact nature and extent of said injuries .is presently unknown to
24
         Plaintiff, who will pray leave of court to assert the same when they are ascertained.
25
         318.   Plaintiff is entitled to a civil penalty up to ten thousand dollars ($10,000) for each
26
         violation of Cal. Lab. Code § 1102.5.
27
         319.   By the acts and conduct of aforesaid Defendant Costco and DOES 1 through 100, and
28
         each of them, Plaintiff has been directly and legally caused to suffer actual damages pursuant to

         California Civil Code § 3333 including, but not limited to, loss of earnings and future earning
                                                          41
                                            COMPLAINT FOR DAMAGES

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  1   capacity, medical and related expenses for care and procedures both now and in the future,
  2   attorneys' fees, and other pecuniary loss not presently ascertained, for which Plaintiff will seek
  3   leave of court to amend when ascertained.
  4            As a result of the unlawful acts of Defendant Costco and DOES 1 through I 00 and each
      320.
  5
      of them, as alleged herein, Plaintiff is entitled to reasonable attorneys' fees and costs of said suit
  6
      as specifically provided in Cal. C.C.P. § 1021.5. Plaintiffs action enforces important rights
  7
      affecting the public interest by bringing forth this lawsuit to ensure Defendant Costco and DOES
  8
      1 through I 00 refrain from unlawfully retaliating against employees for blowing the whistle,
  9
      thereby conferring a significant benefit on the general public's health and well-being as a result.
 10
      The necessity and financial burden of this private enforcement, as well as the interest of justice,
 11
      entitles Plaintiff to reasonable attorneys' fees and costs under Cal. C.C.P. § 1021.5.
 12
      321.     Plaintiff has been damaged in an amount within the jurisdictional limits of this Court.
 13
                                                    VIII.
 14                                      EIGHTH CAUSE OF ACTION
 15                              For Retaliation in Violation of Public Policy
 16                           Against Defendant Costco & DOES 1 Through 100
 17   142.     Plaintiff incorporates herein by reference and re-alleges each and every paragraph in this
 18
      Complaint as though duly set forth in full herein.
 19            Plaintiff performed work in, among other locations, Los Angeles County, at which time
      143.
20    she was subjected to the aforementioned and below described unlawful conduct.
21    144.     · Plaintiff was retaliated and wrongfully placed on indefinite leave from Plaintiffs
 22   employment on or about March 3, 2020 due to Plaintiffs actual/perceived disability, requests
 23   and/or     need   for   medical    leave,   and/or    her         aforesaid   legally    protected   activities
24    (complaints/protests against the harassment and discrimination, among others, as aforesaid).
25    145.     As such, Plaintiff was retaliated and discharged from Plaintiff's employment for reasons
                                                                .   ,
26
      that violate a public policy(s).
27             At all times relevant herein, Plaintiff was employed by Defendant Costco.
      146.
28             As alleged herein, Defendant Costco placed Plaintiff on indefinite leave from Plaintiffs
      147.
      employment.

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                                           COMPLAINT FOR DAMAGES
                                                                                              EXHIBIT A, PAGE 45
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  1    148.   Plaintiff wrongfully being placed on indefinite leave caused and continues to cause
  2   Plaintiff harm.
  3    149.   At all times herein mentioned, the public policy of the State of California, as codified,
  4   expressed and mandated by California Government Code §§ 12920 and 12940 et seq., was to
  5   prohibit employers from harassing, discriminating, and retaliating against any individual on the
  6   grounds of their actual/perceived disability status. This public policy of the State of California is
  7   designed to protect all employees and to promote the welfare and well-being of the community at
  8   large. The policy inures to the benefit of the public and is fundamental and substantial.
  9   150.    At all times herein mentioned, the public policy of the State of California, as codified,
 10   expressed and mandated by California Government Code § 12945 et. seq., California Family
 11   Rights Act (CFRA), was to prohibit employers from failing to provide medical leave to disabled
 12   employees and to prohibit employees from retaliating against an employee for taking extended
 13   medical leave. This public policy of the State of California is designed to protect all employees
 14   and to promote the welfare and well-being of the community at large. The policy inures to the
 15   benefit of the public and is fundamental and substantial.
 16   151.    At all times herein mentioned, the public policy of the State of California, as codified,
 17   expressed and mandated by California Government Code § 12940 et. seq., was to prohibit
 18   employers from failing to engage in the mandatory good-faith interactive process with disabled
 19   employees to determine the extent of their disabilities and determine how they could be
20    reasonably accommodated. This public policy of the State of California is designed to protect all
21    employees and to promote the welfare and well-being of the community at large. The policy
22    inures to the benefit of the public and is fundamental and substantial.
23    152.    At all times herein mentioned, the public policy of the State of California, as codified,
24    expressed and mandated by California Government Code § 12940 et. seq., was to prohibit
25    employers from failing to provide reasonable accommodations to disabled employees. This
26    public policy of the State of California is designed to protect all employees and to promote the
27    welfare and well-being of the community at large. The policy inures to the benefit of the public
28    and is fundamental and substantial.



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     1    153.    At all times herein mentioned, the public policy of the State of California, as codified,

     2    expressed and mandated in Cal. Labor Code §§ 6300 et seq. requires all employers take

     3    reasonable steps to provide a safe and secure workplace and to adopt safe practices and
 4        procedures.

     5    154.   At all times herein mentioned, the public policy of the State of California, as codified,
 6        expressed and mandated by California Labor Code§§ 6300 et seq. and 6400 et. seq., Cal. Health
 7       & Saf. Code § 1278.5(g), among others, was to prohibit employers from partaking in unsafe

 8       workplace violations including providing employees with adequate safety equipment. This

 9       public policy of the State of California is designed to protect all employees and to promote the
10       welfare and well-being of the community at large.

11       155.    At all times herein mentioned, the public policy of the State of California, as codified,
12       expressed and mandated by California Labor Code § 1102.5 prohibited discrimination and/or
13       retaliation against employees blowing the whistle about their employers' unlawful activities.
14
         This public policy of the State of California is designed to protect all employees and to promote
15
         the welfare and well-being of the community at large.
16
         156.    Accordingly, the actions of Defendant Costco and DOES 1 through 100, in retaliating
17
         against Plaintiff on the grounds alleged and described herein were wrongful and do not promote
18
         the welfare and well-being of the community at large.
19
         157.    As a direct and legal result of the acts and omissions of Defendant Costco and DOES 1
20
         through 100, and each of them, Plaintiff was rendered sick, sore, lame, disabled and/or
2i
         disordered, both internally and/or externally, and suffered, among other things, emotional
22
         distress, including but not limited to shock, pain, discomfort and/or anxiety.
23
         158.    As a further legal result of the acts and omissions of Defendant Costco, and DOES I
24
         through 100, and each of them, Plaintiff has been forced to incur expenses for medical care, X-
25
         rays, and/or laboratory costs during the period of Plaintiffs disabilities, and is informed and
26
     · believes, and/or thereon alleges, that Plaintiff will in the future be forced to incur additional
27
         expenses of the same nature, all in an amount which is at present unknown. Plaintiff will pray
28
         leave of court to show the exact amount of said expenses at the time of trial. .



                                                         44
                                           C.OMPLATNT FOR DAMAGRS
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  1    159.   Prior to the occurrence of the incidents, Plaintiff was an able-bodied individual, but since
  2   said incidents has been unable to engage fully in Plaintifrs occupation, and/or is informed and

  3   believes, and thereon alleges, that Plaintiff will be partially and/or fully incapacitated and/or
  4   unable to perfonn Plaintiffs usual work for an indefinite period of time in the future, all to

  5   Plaintiffs damages in an amount which is at present unascertained. Plaintiff will pray leave of

  6   court to show the total amount of loss of earnings at the time of trial.
  7   160.    As a further direct and legal result of the acts of Defendant Costco, and DOES 1 through
  8   100, Plaintiff has been caused, and did suffer, and continues to suffer severe and/or permanent
  9   emotional and/or mental distress and anguish, humiliation, embarrassment, fright, shock, pain,

 10   discomfort and/or anxiety. The exact nature and extent of said injuries is presently unknown to

 11   Plaintiff, who will pray leave of court to assert the same when they are ascertained.

 12   161.    The aforementioned acts of Defendant Costco and DOES I through 100, and each of
 13   them, were willful, wanton, malicious, intentional, oppressive and despicable and were done in
 14   willful and conscious disregard of the rights, welfare and safety of Plaintiff, and were done by
 15   managerial agents and employees of Defendant Costco, and with the express knowledge,
 16   consent, and ratification of managerial agents and employees of Defendant Costco and DOES l
 17   through I 00, thereby justifying the awarding of punitive and exemplary damages in an amount to
 18   be determined at the time of trial pursuant to Cal. Civil Code§ 3294(a) and (b).
 19   162.    By the aforesaid acts and conduct of Defendant Costco and DOES I through 100, and
 20   each of them, Plaintiff has been directly and legally caused to suffer actual damages pursuant to
 21   California Civil Code § 3333 including, but not limited to, loss of earnings and future earning

 22   capacity, medical and related expenses for care and procedures both now and in the future,
 23   attorneys' fees, and other pecuniary loss not presently ascertained, for which Plaintiff will seek
24    leave of court to amend when ascertained.
25    163.    As a result of the unlawful acts of Defendant Costco and DOES I through I 00, and each
26    of them, as alleged herein, Plaintiff is entitled to reasonable attorneys' fees and costs of said suit

27    as specifically provided in Cal. C.C.P. § 1021.5. Plaintiffs action enforces important rights
28    affecting the public interest by bringing forth this lawsuit to ensure Defendant Costco refrains

      from unlawfully retaliating against their employees, thereby conferring a significant benefit on


                                                       45
                                         COMPLAINT FOR DAMAGES

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  1   the general public's health and ~ell-b~ing as a result. The necessity and financial burden of this

 2    private enforcement, as well as the interest of justice, entitles Plaintiff to reasonable attorneys'

  3   fees and costs under Cal. C.C.P. § 1021.5.
 4    164.   Plaintiff has been damaged in an amount within the jurisdictional limits of this Court.
  5   WHEREFORE, PLAINTIFF EVA VAZQUEZ prays for judgment against the Defendants, and

  6   each of them, as follows:
  7       1. For general damages in an amount within the jurisdictional limits of this Court;
  8      2. For special damages in an amount within the jurisdictional limits of this Court;
 9       3. For medical expenses and related items of expense, according to proof;
 10      4. For loss of earnings, according to proof;
 11      5. For consequential and incidental damages according to proof;

12       6. For prejudgment interest according to proof;

13       7. For declaratory relief;
 14      8. For injunctive relief;
15       9. For damages, penalties and attorneys' fees and costs of suit as provided for by Cal. Gov.

16    Code § 12965(b);
17        IO. For civil penalties for each violation of Cal. Lab. Code§ 1102.5.

18        11. For damages, penalties and costs of suit as provided for by California Civil Code§ 3333;

19        12. For damages, penalties and reasonable attorneys' fees and costs of suit against Defendant

20    Costco as provided for by California Code of Civil Procedure§ 1021.5, according to proof;
21        i3. For such other and further reiief as the Court may deem just and proper.
22

23

24    Dated: January 28, 2021                                   REISNER & KING LLP
                                                   .   '
25

26

27
                                                                By: - - - - - - - - - -
28                                                                  TRAVIS BECK
                                                                    Attorneys for PLAINTIFF
                                                                    EVA VAZQUEZ

                                                           46
                                         COMPLAINT FOR DAMAGES
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            STATE QE QAUfOBNIA I Bysjness Consumer services and Housing Agency                          GAVIN NEWSOM GpVERNOR

            DEPARTMENT OF FAIR EMPLOYMENT & HOUSING                                                         KEVIN KISH, DIRECTOR

            2218 Kausen Drive, Suite 100 I Elk Grove I CA I 95758
            (800) 884-1684 (Voice) I (800) 700-2320 (TTY) I California's Relay Service at 711
            http://www.dfeh.ca.gov I Email: contact.center@dfeh.ca.gov



      December 15, 2020

      RE:   Notice of Filing of Discrimination Complaint
            DFEH Matter Number: 202012-12094415
            Right to Sue: Eva / COSTCO WHOLESALE CORPORATION. et al.

      To All Respondent(s):

     Enclosed is a copy of a complaint of discrimination that has been filed with the
     Department of Fair Employment and Housing (DFEH) in accordance with Government
     Code section 12960. This constitutes service of the complaint pursuant to Government
     Code section 12962. The complainant has requested an authorization to file a lawsuit.
     This case is not being investigated by DFEH and is being closed immediately. A copy of
     the Notice of Case Closure and Right to Sue is enclosed for your records.

     Please refer to the attached complaint for a list of all respondent(s) and their contact
     information.

     No response to DFEH is requested or required.

     Sincerely,


     Department of Fair Employment and Housing




                                                                                                EXHIBIT A, PAGE 50
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                                                                                             I   •




 1                       COMPLAINT OF EMPLOYMENT DISCRIMINATION
                              BEFORE THE STATE OF CALIFORNIA
 2                    DEPARTMENT OF FAIR EMPLOYMENT AND HOUSING
                      Under the California Fair Employment and Housing Act
 3                                 (Gov. Code, § 12900 et seq.)
 4
      In the Matter of the Complaint of
 5     Vazquez Eva                                                 DFEH No. 202012-12094415

 6                                    Complainant,
      vs.
 7
       COSTCO WHOLESALE CORPORATION
 8
       5401 Katella Avenue
 9     Cypress, California 90720

10     Allan Manager

11
       Julie Human Resources
12

13     Gus Warehouse Manager
14
       Alla Manager
15
16
                                      Respondents
17
18    1. Respondent COSTCO WHOLESALE CORPORATION is an employer COSTCO
      WHOLESALE CORPORATION subject to suit under the California Fair Employment and
19    Housing Act (FEHA) (Gov. Code, § 12900 et seq.).

20   2. Complainant is naming Allan Manager as individual Co-Respondent(s).
21    Complainant is naming Julie Human Resources as individual Co-Respondent(s).
22    Complainant is naming Gus Warehouse Manager as individual Co-Respondent(s).
23
     Complainant is naming Alla Manager as individual Co-Respondent(s).
24
     3. Complainant Vazquez Eva, resides in the City of Sherman Oaks, State of California.
25
26
                                           -1-
27   11-----------=-------:-~----=-=~----------:-----"'.'.----,-:----------~
                          Complaint - DFEH No. 202012-12094415

28    Date Filed: December 15, 2020




                                                                              EXHIBIT A, PAGE 51
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   1 4. Complainant alleges that on or about June 3, 2020, respondent took the following
     adverse actions:
   2
     Complainant was harassed because of complainant's family care or medical leave (cfra)
   3   (employers of 50 or more people), disability (physical or mental), medical condition (cancer
       or genetic characteristic), other, association with a member of a protected class.
   4
   5 Complainant was discriminated against because of complainant's family care or medical
        leave (cfra) (employers of 50 or more people), disability (physical or mental), medical
   6 condition (cancer or genetic characteristic), other, association with a member of a protected
       class and as a result of the discrimination was terminated, denied hire or promotion,
   7 reprimanded, denied equal pay,-suspended, demoted, asked impermissible non-job-related
       questions, denied any employment benefit or privilege, denied reasonable accommodation
   8   for a disability, denied family care or medical leave (cfra) (employers of 50 or more people),
       denied work opportunities or assignments, denied or forced to transfer.
   9
       Complainant experienced retaliation because complainant reported or resisted any form
  10   of discrimination or harassment, requested or used a disability-related accommodation,
       participated as a witness in a discrimination or harassment complaint, requested or used
  11   leave under the california family rights act or fmla (employers of 50 or more people) and as a
       result was terminated, denied hire or promotion, reprimanded, denied equal pay,
  12
       suspended, demoted, asked impermissible non-job-related questions, denied any
       employment benefit or privilege, denied reasonable accommodation for a disability, denied
  13
       family care or medical leave (cfra) (employers of 50 or more people), denied work
  14   opportunities or assignments, denied or forced to transfer.

  15
       Additional Complaint Details: Ms. Vazquez has been employed by Costco from 2001 until
  16   the present, and continuing, as a Front-End Assistant. As discussed in further detail below,
       throughout Ms. Vazquez's employment with Costco, she has been harassed, discriminated,
  17   and retaliated against due in substantial part to her actual/perceived disabilities and need for
       accommodation, ultimately being forced out on an indefinite medical leave due to her work
 18    restrictions, and for protesting and complaining in violation of the FEHA.

 19    In or around 2013, Ms. Vazquez sustained injuries to her lower back at work, which she
       immediately reported to her Supervisor, Rosa, and her Manager, Miguel Hernandez. Ms.
 20    Vazquez consequently underwent surgery in which screws were place in her back and was
       thereafter out on medical for approximately two (2) years. Upon Ms. Vazquez's return to
 21
       work in or around 2015, she worked her way up from four-hour shifts back up to eight-hour
       shifts.
 22

 23    However, in or around August 2019, Ms. Vazquez sustained disabilities to her feet and went
       out on medical leave for approximately two months as a result thereof. Upon Ms. Vazquez's
 24    return to work in or around October 2019, Manager Gus began to leer and stare at her on a
       severe and/or pervasive basis due in substantial part to Ms. Vazquez's disabilities and/or
 25    need for medical leave. Furthermore, Manager Gus was short with Ms. Vazquez, would

 26

 2 7 1 1 - - - - - - -Complaint
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                                       ------------------4
                                - DFEH No. 202012-12094415
 28    Date Fifed: December 15, 2020




                                                                                   EXHIBIT A, PAGE 52
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     1 rarely talk to or ignore her, and purposely distanced himself from Ms. Vazquez, directly
          evidencing his discriminatory and retaliatory animus.
     2
          In or around November 2019, Ms. Vazquez took a medical leave of absence due to
 3 disabilities she sustained to her hips, returning approximately three (3) weeks later with
         restrictions of no sweeping. In response to Ms. Vazquez's medical work restrictions, morning
 4       Managers Gus, Jessica, Angel, and Salvador all became visibly upset with her, making
         comments in an angry tone and questioning her restrictions by asking "Why can't you
 5       sweep?" "You have restrictions for sweeping?" among other similar comments/questions.
 6
    Thereafter, in or around January 2020, Ms. Vazquez was given permanent restrictions of no
  7 sweeping,    which she gave to HR Representative Julie. Nonetheless, Ms. Vazquez was able
    to continue working by performing stock, standing at the doors, folding clothes, and re-
  8 wrapping. Ms. Vazquez attempted to transfer to the optical department but was denied by
    Manager Eddie Robles, who stated that Costco's policy meant she needed a special
  9 license. However, Ms. Vazquez knew of at least three people who were working in Optical
    without the required license, directly evidencing Manager Robles' discriminatory and
1O retaliatory animus with respect to Ms. Vazquez's disabilities, need for accommodation,
    and/or need for medical leave.
11
    On or about February 15, 2020, Ms. Vazquez was called into a meeting with Manager
12 Robles and HR Representative Julie. During this meeting, Manager Robles and HR Rep
    Julie unlawfully attempted to force Ms. Vazquez to take her job description to her doctor so
13 that her doctor would modify her restrictions in accordance with her full job duties. Manager
                                                             11
    Robles told Ms. Vazquez in a threatening manner, Vou need to take this paper to the doctor
14 and show him this paper," and further stated that it is "not fair for other people to do their
    day-to-day tasks and that you need assistance or are exempt from certain tasks due to your
15
    restrictions," directly evidencing his discriminatory animus due in substantial part to Ms.
1s  Vazquez's   disabilities and need for accommodation.

17       On or about March 2, 2020, Ms. Vazquez came into work with a face mask and gloves to
         protect herself in light of the COVID-19 pandemic. However, Manager Gus unlawfully
18       refused to allow Ms. Vazquez to wear her face mask, asking, "Are you sick? No? Then you
         can't wear your mask. The only people allowed to v.vear masks are the sick people." Ms.
19       Vazquez subsequently engaged in legally protected activity by protesting Manager Gus'
         safety violation in denying her the ability to wear a mask, "The reason why I am wearing a
20       face mask is because my doctors recommended I wear one due to my weak immune
         systemjj and "I am also wearing a mask because I have an upcoming surgery and I need to
21       be healthy, so I am taking care of my health."

22       The very next day, on or about March 3, 2020, Ms. Vazquez was summoned to a "job
         assessment review meeting" with Managers Allan and Jessica, where it was erroneously
23
         determined she was unable to perform the essential functions of her position as a Front-End
         Assistant. In fact, Ms. Vazquez was able to continue working as she had since January
24
         2020 by working the door, re-wrapping, folding, and walking to check the refrigerators. Ms.
25       Vazquez was ultimately forced out on leave indefinitely by Costco because she could not

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                         Complaint - DFEH No. 202012-12094415
28       Date Filed: December 15, 2020




                                                                                   EXHIBIT A, PAGE 53
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   1    work without accommodations and due to her disabilities, and because she had protested
        Manager Gus' unlawful conduct.
   2
                                                             11                   11
     Precluding employees from returning to work under 100% healed policies are per se
                              11                11
   3 violations of the ADA. 100% healed" or fully healed" policies discriminate against qualified
     individuals with disabilities because such policies permit employers to substitute
                                                         0
   4 determination of whether qualified individuals are 100% healed" from their injury for the
     required individual assessment whether qualified individuals are able to perform essential
   5 functions of his or her job either with or without accommodation. Americans with Disabilities
     Act of 1990, § 2 et seq., 42 U.S.C.A. § 12101 et seq.; McGregor v. National R.R. Passenger
   6
     Corp. (9th Cir. 1999) 187 F.3d 1113. Here, Costco forced Ms. Vazquez out on leave
   7 because   she could not work without accommodations, effectively precluding her from
     working, despite the fact that she was able to continue working in the same capacity she
   8 had been working for since January 2020.

   9 Moreover, under the FEHA, an employer must engage in an informal dialogue with an
     employee who is actually or even perceived to be disabled in order to determine whether an
  1O effective and reasonable accommodation is possible. This dialogue is designed to assess
     the extent of the employee's limitations before the company may deem them unable to work
  11 and is legally mandated even where the employee is not actually disabled. This dialogue
     would have notified Costco that Ms. Vazquez was able to continue working in t_he same
  12 capacity, with reasonable accommodations and assistance as needed.

  13 Despite its duty under the FEHA, at no time did Costco engage in the mandatory good faith
     interactive process to determine the nature and extent of Ms. Vazquez's disability(s) and
  14 determine how she could have been accommodated. Employers who are aware of an
     employee's disabilities have an affirmative duty to make reasonable accommodations for
  15
     such disabilities. This duty arises even if the employee has not requested any
     accommodation. Costco's failure to engage in the interactive process is an independent
  16
     violation of the FEHA, as is its failure to provide Ms. Vazquez with a reasonable
  17 accommodation.

  18   The FEHA explicitly prohibits such harassment, discrimination, and retaliation in the
       workplace on account of protected classes and categories. It is an unlawful employment
  19   practice for an employer to harass, discriminate, and/or retaliate against its employee
       because of an individual's perceived/actual disabilities. See generally Cal. Gov. Code§
 20    12940.

 21    Therefore, by harassing, discriminating, and retaliating against Ms. Vazquez based on her
       disabilities, Costco was in violation of the FEHA.
 22
       Ms. Vazquez also engaged in legally protected activity by protesting Manager Gus' unlawful
 23    conduct when he refused to allow her to wear her face mask in spite of the ongoing COVID-
       19 pandemic. However, rather than investigate fy'ls. Vazquez's claims, Costco forced Ms.
 24
       Vazquez out on indefinite leave the very next day, as retaliation for her complaints. Indeed,
       the temporal proximity between Ms. Vazquez·s engaging in legally protected activity and her
 25
       termination implies an unlawful correlation.
 26
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                        Complaint-DFEH No. 202012-12094415
 28    Date Filed: December 15, 2020




                                                                                 EXHIBIT A, PAGE 54
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                                                                                                   .. I




 1
     As such, by retaliating against Ms. Vazquez due fo her complaints about and protests
 2 against the aforesaid numerous violations of law, Costco was in violation of California's
   whistleblower statute, which generally prohibits. retaliation against employees who refuse to
 3 violate or complain about violations of the law.
 4

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                   Complaint - DFEH No. 202012-12094415

28   Date Filed: December 15, 2020




                                                                                EXHIBIT A, PAGE 55
Case 2:21-cv-02563-PSG-JC Document 3-1 Filed 03/24/21 Page 54 of 65 Page ID #:77




   1 VERIFICATION

   2   I, Adam Reisner, am the Attorney in the above-entitled complaint. I have read the
       foregoing complaint and know the contents thereof. The matters alleged are based
   3
       on information and belief, which I believe to be true.
   4
     On December 15, 2020, I declare under penalty of perjury under the laws of the State
   5 of California that the foregoing is true and correct.

   6                                                                     Sherman Oaks
   7

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                        Complaint - DFEH No. 202012-12094415
  28   Date Filed: December 15, 2020




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           STATE Of CAUFORNIA I Business Consumer Servjces and Housing Agency                         GAVIN NEWSOM GOVERNOR

           DEPARTMENT OF FAIR EMPLOYMENT                                        & HOUSING                 KEVIN KISH, DIRECTOR

           2218 Kausen Drive, Suite 100 I Elk Grove I CA 195758
           (800) 884-1684 (Voice) I (800) 700-2320 (TTY) I California's Relay Service at 711
           http://www.dfeh.ca.gov I Email: contact.center@dfeh.ca.gov



     December 15, 2020

     Vazquez Eva
     C/O Reisner & King LLP 15303 Ventura Blvd., Suite 1260
     Sherman Oaks, California 91403

     RE:   Notice of Case Closure and Right to Sue
           DFEH Matter Number: 202012-12094415
           Right to Sue: Eva/ COSTCO WHOLESALE CORPORATION et al.

     Dear Vazquez Eva:

    This letter informs you that the above-referenced complaint was filed with the
    Department of Fair Employment and Housing (DFEH) has been closed effective
    December 15, 2020 because an immediate Right to Sue notice was requested. DFEH
    will take no further action on the complaint.

    This letter is also your Right to Sue notice. According to Government Code section
    12965, subdivision (b), a civil action may be brought under the provisions of the Fair
    Employment and Housing Act against the person, employer, labor organization or
    employment agency named in the above-referenced complaint. The civil action must be
    filed within one year from the date of this letter.  '

    To obtain a federal Right to Sue notice, you must contact the U.S. Equal Employment
    Opportunity Commission (EEOC) to file a complaint within 30 days of receipt of this
    DFEH Notice of Case Closure or within 300 days of the alleged discriminatory act,
    whichever is earlier.

    Sincerely,


    Department of Fair Employment and Housing




                                                                                               EXHIBIT A, PAGE 57
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                                                                                                    Reserved for Clerk's File Stamp   ~   .I   ...
                   SUPERIOR COURT OF CALIFORNIA
                      COUNTY OF LOS ANGELES
    COURTHOUSE ADDRESS:                                                                                       FILED
   Stanley Mosk Courthouse                                                                        ~upermr Co.Jrt of CalntJ!rua
                                                                                                    County of Los Angallas
   111 North Hill Street, Los Angeles, CA 90012
                                                                                                       · 01/28/2021
                       NOTICE OF CASE ASSIGNMENT                                         SJiemtR. CiiiilB,EB'J~Ye0S:ooO Qe1hfCawt
                                                                                           By;       H. Flore&iHamandaz Deu,u1y
                          UNLIMITED CIVIL CASE

                                                                                   CASE NUMBER:

   Your case is assigned for all purposes to the judicial officer indicated below. 21 STCV03541

                           THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

                 ASSIGNED JUDGE               DEPT     ROOM                    ASSIGNED JUDGE                       DEPT          ROOM
    t/ jSusan      Bryant-Deason             52
                                                                       I




    Given to the Plaintiff/Cross-Complainant/Attorney of Record   Sherri R. Carter, Executive Officer/ Clerk of Court
    on 01/29/2021                                                          By H. Flores-Hernandez                               , Deputy Clerk
                 (Date)
LACIV 190 (Rev 6/18)       NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
LASC Approved 05/06


                                                                                                    EXHIBIT A, PAGE 58
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                '                   INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

 The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the. Superior Court, are summarized
 for your assistance.

 APPLICATION
 The Division 7 Rules were effective January l, 2007. They apply to all general civil cases.

 PRIORITY OVER OTHER RULES
 The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

 CHALLENGE TO ASSIGNED JUDGE
 A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
 to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

 TIME STANDARDS
 Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

 COMPLAINTS
 All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

 CROSS-COMPLAINTS
 Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed.          Cross-
 complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

 STATUS CONFERENCE
 A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
 complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
 trial date, and expert witnesses.

 FINAL STATUS CONFERENCE
 The Court will require the parties to attend a final status conference not more than I 0 days before the scheduled trial date. All
 parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
 form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
 matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
 lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
 by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge (?f complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




LACIV 190 (Rev 6/18)        NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
LASC Aooroved 05/06

                                                                                                       EXHIBIT A, PAGE 59
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                                                                                       FILED
                                                                                Superior Court of Callforala
    l                                                                              County of Los Anples

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    s                          SUPERIOR COURT OF THE STATE Of CALIFORNIA
    6
                                      FOR THE COUNTY OF LOS ANGELES
   7

    8   IN RE LOS ANGELES SUPERIOR COURT )                 FIRST AMENDED GENERAL ORDER
        - MANDATORY ELECTRONIC Fn.,ING )
   9    FORCIVIL                                       )
   10                                                  ~
   11
   12          On December 3, 2018, the Los Angeles County Superior Court mandated electronic filing of all
   13   documents in Limited Civil cases by litigants represented by attqmeys. On January 2, 2019, the Los
   14   Angeles County Superior Court mandated electronic filing of all documents filed in Non-Complex
   1S   Unlimited Civil cases by litigants represented by attorneys. (California Rules of Court, rule 2.253(b).)
   16   All electronically filed documents in Limited and Non-Complex Unlimited cases are subject to the
   17   following:
   18   1) DEFINrrIONS
   19      a) "Bookmark'' A bookmark is a PDF document navigational tool that allows the reader to
  20           quickly locate and navigate to a designated point of interest within a document.
  21       b) ''Effling Portal" The official court website includes a webpage, referred co as the efiling

  22           portal, that gives litigants access to the approved Electronic Filing Service Providers.
  23       c) "Electronic Envelope" A transaction through the el~ctronic service provider for submission
  24           of documents to the Coun for processing which may contain one or more PDF documents
  2S           attached.
  26       d) ''Electronic FIiing" Electronic Filing (eFiling) is the electronic transmission to a Court of a
  27           document in electronic fonn. (California Rules of Court, rule 2.2SO(b )(7).)
  28

                           FIRST AMENDED OENERAL ORDl:R RE MANDATORY ELECTRONIC FILINO FOR CIVIL




                                                                                      EXHIBIT A, PAGE 60
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 ·•        ~   '                                                                                           2019-OEN-0I4.00



       1           e) '-Electronic Filing Service Provider'' An Electronic Filing Service Provider (EFSP) is a
       2               person or entity that receives an electronic filing from a party for retransmission to the Court.
       3               Io the submission of filings, the EFSP does so on behalf of the electronic filer and not as an
       4               agent oftbe Court. (California Rules of Court, rule 2.2SO(b)(8).)
       s           f) "Electronic Signature" For purposes of these local rules and in conformity with Code of
       6               Civil Procedure section 17, subdivision (b)(3), section 34, and section 1010.6, subdivision
       7               (b)(2), Government Code section 681 SO, subdivision (g), and California Rules of Court, rule
       8               2.257, the term "Electronic Signature" is generally defined as an electronic sound, symbol, or
       9              process attached to or logically associated with an electronic record and executed or adopted
      10              by a person with the intent to sign the electronic record.
      11           g) ''Hyperlink"     An electronic link providing direct access from one distinctively marked place
      12              in a hypenext or hypermedia document to ·another in the same or different document.
      13           h) •'Portable Document Format" A digital document format that preserves all fonts,
      14              formatting, colors and graphics of the original source document, regardless of the application
      1S              platform used.

      16       2) MANDATORY ELECTRONIC FILING
      17           a) Trial Court Records

      18              Pursuant to Government Code section 68150, trial court records may be created, maintained,
      19              and preserved in electronic format. Any document that the Co.un receives electronically must
      20              be clerically processed and must satisfy all legal filing requirements in order to be filed as an
      2]              official coun record (California Rules of Coun, rules 2.J00, et seq. and 2.253(b)(6)).
      22           b) Represented Litigants

      23              Pursuant to California Rules of Court, rule 2.253(b), represented litigants are required to
      24              electronically file documents with the Court through an approved EFSP.
      2S           c) Public Ngtice
      26              The Court has issued a Public Notice with effective dates the Court required patties to
      27              electronically file documents through one or more approved EFSPs. Public Notices containing
      28              effective dates and the list of EFSPs are available on the Court's website, at www.lacoun.org.

                                FIRST AMENDED OENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL



                                                                                              EXHIBIT A, PAGE 61
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   I        d) Documents in Related Cues
   2           Documents in related cases must be electronically filed in the eFiling ponal for that case type if
   3           electronic tiling has been implemented in that case type. regardless of whether the case has
   4           been related to a Civil case.
   5   3) EXEMPT LITIGANTS
   6        a) Pursuant to California Rules of Court, rule 2.253(b)(2), self-represented litigants are exempt
   7           from mandatory electronic filing requirements.
   8        b) Pursuant to Code of Civil Procedure section 1010.6,. subdivision (d)(3) and California Rules of
   9           Court. rule 2.2S3(b)(4). any party may make application to the Court requesting to be excused
  10           from tiling documents electronically and be permitted to file documents by conventional
  1J           means if the party shows undue hardship or significant prejudice.
  12   4) EXEMPT FILINGS
  13        a) The following documents shall not be filed electronically:
  14           i)     Peremptory Challenges or Challenges for Cause of a Judicial Officer pursuant to Code of
  15                  Civil Procedure sections 170.6 or 170.3;
  16           ii)    Bonds/Undertaking documents;

  17           iii)   Trial and Evidentiary Hearing Exhibits
  18           iv)    Any ex parte application that is filed concurrently with a new complaint including those
  19                  that will be handled by a Writs and Receivers depanment in the Mosk courthouse; and
  20           v)     Documents submitted conditionally under seal. The actual motion or application shall be
  21                  electronically filed. A courtesy copy of the electronically filed motion or application to
  22                  submit documents conditionally under seal must be provided with the documents
  23                  submitted conditionally under seal.
  24        b) Lodgments
  2S           Documents attached to a Notice of Lodgment shall be lodged and/or served conventionally in
  26   paper form. The actual document entitled, "Notice of Lodgment," shall be filed electronically.
  27   //
  28   //

                           FIRST AMENDED GENERAL ORDER RE MANDATORY ELECJ'RONIC FILING FOR CIVIL




                                                                                       EXHIBIT A, PAGE 62
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                                                                                                2019-GEN-014-00



   1   S) ELECTRONIC FILING SYSTEM WORKING PROCEDURES

   2     Electronic filing service providers must obtain and manage registration information for persons

   3     and entities electronically filing with the court.
   4   6) TECHNICAL REQUIREMENTS
   s     a) Electronic documents must be electronically filed in PDF, text searchable format when
   6         technologically feasible without impainnent of the document's image.
   7     b) The table of contents for any filing must be bookmarked.
   8     c) Electronic documents, including but not limited to, declarations. proofs of service, and

   9        exhibits, must be bookmarked within the document pursuant to California Rules of Court, rule

  10         3.1 l 10(t)(4). Electronic bookmarks must include Jinks to the first page of each bookmarked

  11         item (e.g. exhibits, declarations. deposition excerpts) and with bookmark tides that identify the
  12         bookedmarked item and briefly describe the item.
  13     d) Attachments to primary documents must be bookmarked. Examples include, but are not
  14         limited to, the fallowing:
  15         i)    Depositions;
  16         ii)   Declarations;
  17        iii)   Exhibits (including exhibits to declarations);

  18         iv) Tr&J1scripts (including excerpts within transcripts);
  19         v)    Points and Authorities;
  20         vi)   Citations; and
  21         vii) Supporting Briefs.
  22     e) Use of hyperlinks within documents (including attachments and exhibits) is strongly
  23         encouraged.
  24     f) Accompanying Documents
  25         Each document acompanying a single pleading must be electronically filed as a separate
  26         digital PDF document.

  27     g) Multiple Documents

  28         Multiple documents relating to one case can be uploaded in one envelope transaction.

                                                              4
                       FIRST AMENDED OENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR ClVIL



                                                                                   EXHIBIT A, PAGE 63
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                                                                                                           1      ..J·
                                                                                                   2019-GEN-014-00




    1     h) Writs and Abstracts
    2        Writs and Abstracts must be submitted as a separate electronic envelope.
    3     i) Sealed Documents
    4        If and when a judicial officer orders documents to be flied under seal, those documents must be
    5        filed electronically (unless exempted under paragraph 4); the burden of accurately designating
   6         the documencs as sealed at lhe time of electronic submission is the submitting party's
    7        responsibility.
    8     j) Redaction
    9        Pursuant to California Rules of Court, rule 1.201, it is the submitting patty's responsibility to
   10        redact confidential information (such as using initials for names of minors, using the last four
   11        digits of a social security number, and using the year for date of birth) so that the information
   12        shall not be publicly displayed.
   13   7) ELECTRONIC FILING SCHEDULE
   14     a) Filed Date

   15        i) Any document received electronically by the court between 12:00 am and 11 :S9:S9 pm

   16            shall be deemed to have been effectively filed on that court day if accepted for faling. Any
   17            document received electronically on a non-court day, is deemed to have been effectively
   18            fded on the next court day if accepted. (California Rules of Court, rule 2.253(b)(6); Code
   19            Civ. Proc. § 1010..6(b)(3).)
  20         ii) Notwithstanding any other provision of this order, if a digital document is not flied in due

  21             course because of: ( 1) an interruption in service; (2) a transmission error that is not the
  22             fault of the transmitter; or (3) a processing failure that occurs after receipt, the Court may
  23             order, either on its own motion or by noticed motion submitted with a declaration for Court
  24             consideration, that the document be deemed filed and/or that the document's filing date
  2S             conform to the attempted transmission date.
  26    8) EXPARTEAPPLICATIONS
  27      a) Ex pute applications and all documents in suppon thereof must be electronically filed no later
  28         than 10:00 a.m. the court day before the ex parte hearing.

                         FIRST AMENDED OENERAL ORDER RE MANDATORY ELECTRONIC FIUNG FOR CIVIL




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    l     b) Any written opposition to an ex parte application must be electtonically fiJed by 8:30 a.m. the
    2         day of the ex parte hearing. A printed courtesy copy of any opposition to an ex parte
    3         application must be provided to the court the day of the ex parte hearing.
    4   9) PRlNTED COURTESY COPIES

    s     a) For any filing electronically fl.led two or fewer days before the hearing, a courtesy copy must
    6         be delivered to the courtroom by 4:30 p.m. the same business day the document is efiled. If
    7         the efiling is submitted after 4:30 p.m., the courtesy copy must be delivered to the courtroom
    8         by 10:00 a.m. the next business day.
    9     b) Regardless of the time of electronic filing, a printed courtesy copy (along with proof of
   10         electronic submission) is required for the following documents:
   11         i)   Any printed document required pursuant to a Standing or General Order;
   12        ii)   Pleadings and motions (including attachments such as declarations and exhibits) of 26
   13              pages or more;
   14       iii)   Pleadings and motions that include points and authorities;
   IS        iv)   Demurrers;
   16        v)    Anti-SLAPP filings, pursuant to Code of Civil Procedure section 425.16;
   17        vi)   Motions for Summary Judgment/Adjudication; and
   18       vii)   Motions to Compel Further Discovery.
   19     c) Nothing in this General Order precludes a Judicial Officer from requesting a courtesy copy of
   20        additional documents. Courtroom specific courtesy copy guidelines can be found at
  21         www.lacourt.org on the Civil webpage under "Courtroom Information."
  22    0) WAIVER OF FEES AND COSTS FOR ELECTRONICALLY FILED DOCUMENTS
  23      a) Fees and costs associated with electronic tiling must be waived for any litigant who has
  24         received a fee waiver. (California Rules of Court, roles 2.253(b)O. 2.2S8(b), Code Civ. Proc.§
  2S         1010.6(d)(2).)

  26      b) Fee waiver applications for waiver of court fees and costs pursuant to Code of Civil Procedure
  27         section 1010.6, subdivision (b)(6), and California Rules of Court, rule 2.2S2(f), may be
  28         electronically filed in any authorized action or proceeding.

                       FIRST AMENDED GENERAL ORDER RE MANDATORY ELECl'RONIC FILING FOR CIVIL



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    1   1) SIGNATURES ON ELECTRONIC FILING
    2      For purposes of this General Order, all electronic filings must be in compliance with CaJifomia
    3      Rules of Court, rule 2.257. This General Order applies to documents filed within the Civil
   4       Division of the Los Angeles County Superior Court.
    s
    6          This First Amended General Order supersedes any previous order related to electronic filing,
   7    and is effective immediately, and is to remain-in effect until otherwise ordered by the Civil
   8    Supervising Judge·and/or Presiding Judge.
   9
   10   DATED: May 3, 2019
                                                             KEVIN C. BRAZILE
   11                                                        Presiding Judge
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                                       VOLUNTARY EFFICIENT LmGATION STIPULATIONS


                                          The Early Organizational Meeting Stipulation, Discovery
                                       Resolution Slipulat1on, and Motions In Umlne SlipulaUon are
                                       volunlary sUpulatlons entered Into by the parties. The parties
                                       may enter into one, two, or all three of the slipulaticns;
                                       however, they may not alter the stlpulaUons as written,
                                       because lhe Court wants to ensure unlfonnlty of appllcaUon.
         La• Anaomeouaor
         larAaacllalan                 These sUpulatfons are meant to encourage cooperation
         Ulliallm&Hlfma
         LDII Angella Coumy            between the parties and ta assist In resofvlng Issues In a
         Bar AaDClallon...., Qlhl
         l:mpfa,-mtt.awa.caon          manner that promotes economic case resolution and judicial
                                       efficiency.

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                                           The foHowlng organizations endorse the goal of
                                       promoting efficiency In I/ligation and ask that counsel
                                       consider using lhesa sllpulatlons as a voluntary way to
                                       promote communlcallons and procedures among counsel
                                       and with the court to fairly resolve Issues in their cases.

                                       • Los Angeles County Bar Association Utlgatlon Section •
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                                                 • Los Angeles County Bar Association
                                                     Labor and Employment Law Section •

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                                                • Southern Callfomla Defense Counsel •

                                               ~Association of Business Trial Lawyers •


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